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                        UNITED STATES DISTRICT COURT

                            DISTRICT OF MINNESOTA


BRIAN MART, Individually and on Behalf )    Civ. No. 0:20-cv-02074-NEB-BRT
of All Others Similarly Situated,       )
                                        )   CLASS ACTION
                            Plaintiff,  )
                                            AMENDED CLASS ACTION
                                        )
       vs.                                  COMPLAINT
                                        )
TACTILE SYSTEMS TECHNOLOGY, )
INC., GERALD R. MATTYS, LYNN L. )
BLAKE, BRENT A. MOEN, ROBERT J. )
FOLKES, BRYAN F. RISHE, WILLIAM )
W. BURKE, RICHARD J. NIGON, AND )
KEVIN H. ROCHE,                         )
                                        )
                            Defendants. )
                                        )




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         Lead Plaintiff St. Clair County Employees’ Retirement System (“Lead Plaintiff”), by

and through its undersigned counsel, brings this securities class action on behalf of

purchasers or acquirers of the common stock of Tactile Systems Technology, Inc., d/b/a

Tactile Medical (“Tactile” or the “Company”) between May 7, 2018 through June 8, 2020,

inclusive (the “Class Period”), and were damaged thereby.1 Lead Plaintiff seeks to recover

damages caused by Defendants’ violations of §§10(b), 20(a), and 20A of the Securities

Exchange Act of 1934 (“Exchange Act”), and SEC Rule 10b-5 promulgated thereunder (17

C.F.R. §240.10b-5).

         Lead Plaintiff alleges the following based upon personal knowledge as to itself and its

own acts and upon information and belief as to all other matters. Lead Plaintiff’s

information and belief is based primarily upon the independent investigation of its attorneys.

This investigation included, but was not limited to, a review and analyses of: (i) Tactile’s

public filings with the U.S. Securities and Exchange Commission (“SEC”); (ii) transcripts of

Tactile’s public conference calls; (iii) Tactile’s press releases and other information made

available on its website; (iv) analyst reports regarding Tactile and other reports or statements

made by third parties; (v) media reports regarding Tactile; (vi) medical journal articles; (vii)

public court dockets; (viii) analyses of Tactile’s stock price movement and pricing and



1
        Excluded from the Class, as defined below, are defendants Tactile, Gerald R. Mattys,
Lynn L. Blake, Brent A. Moen, Robert J. Folkes, Bryan F. Rishe, William W. Burke,
Richard J. Nigon, and Kevin H. Roche (hereinafter “Defendants”), and their families, the
officers and directors of the Company at all relevant times, members of their immediate
families and their legal representatives, heirs, successors or assigns, and any entity in which
Defendants have or had a controlling interest (as defined in 17 C.F.R. §229.404, Instructions
(1)(a)(iii) and (1)(b)(ii)).

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volume data; (ix) analyses of insiders’ trades of Tactile’s stock; (x) interviews with a

witness, and former employee of the Company, knowledgeable of relevant information; and

(xi) other material and data identified herein. Lead Plaintiff believes that substantial

additional evidentiary support will likely exist for the allegations set forth herein after a

reasonable opportunity for discovery.

I.       INTRODUCTION

                    Tactile is a medical technology company that develops and sells medical

devices for the treatment of chronic diseases at home. The Company’s devices provide

therapeutic treatment of lymphedema and chronic venous insufficiency (“CVI”).

Lymphedema is a type of chronic swelling that occurs when lymphatic vessels are unable to

drain lymph fluid properly. CVI is a disease that occurs when venous walls or valves

function improperly, making it difficult for blood to flow.

                    Tactile’s flagship product was Flexitouch, a pneumatic compression device

(“PCD”) designed for the at-home treatment of lymphedema and advanced CVI. Flexitouch

accounted for roughly 90% of the Company’s revenue during the Class Period.

                    Throughout the Class Period, Defendants repeatedly told investors that based

on their “exceptional” Flexitouch sales, Tactile was putting up quarter after quarter of around

30% year-over-year revenue growth. To further generate interest in the stock, Defendants set

a pattern of raising and beating revenue guidance each quarter, citing the past quarter’s

“phenomenal” and “impressive sales performance” in Flexitouch. In particular, Defendants

pointed to the “very strong” sales in its Veterans Administration (“VA”) channel and sales



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growth in the healthcare channel covered by the Center for Medicare & Medicaid Services

(“CMS”) as driving the Company’s revenue growth.

                    Defendants further fueled their revenue story by falsely overstating to investors

the addressable market for Flexitouch. In fact, a study co-authored by Tactile’s own Chief

Medical Officer suggested the total addressable market for Flexitouch was at least three

times smaller than Defendants falsely reported. Thus, with seemingly unstoppable reported

revenue growth and upbeat representations to investors regarding an untapped market of

lymphedema patients – promising even more revenue growth – Tactile’s stock climbed from

$36.92 per share at the beginning of the Class Period, to reach a high of $76.29 per share on

February 25, 2019. As Defendants fraudulently reported soaring revenues with room to

grow, Tactile insiders took advantage of the artificially inflated stock price and sold more

than $38 million of their Tactile shares during the Class Period, reaping over $27 million in

total profits.

                    But Defendants’ revenue story was a fabrication. In truth, Defendants had

concealed from investors that to boost the Company’s revenues, Tactile was engaging in

unlawful kickback schemes and submitting false claims to federal healthcare programs like

the VA and CMS. Specifically, Tactile’s fraudulent course of conduct included:

                           Illegally remunerating physicians to induce them to prescribe Tactile’s

products;

                           Illegally remunerating hospital staff and therapists to induce them to

persuade physicians to prescribe Tactile’s products;



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                          Illegally submitting false claims for reimbursement to CMS by assisting

physicians in falsifying medical necessity forms;

                          Overstating its revenues earned from the VA and CMS; and

                          Reporting to investors that their total addressable market (“TAM”) and

the prevalence of lymphedema was considerably larger than it was.

                    Then, on March 20, 2019, the amended complaint of a qui tam lawsuit naming

Tactile as the defendant for illegal sales practices was unsealed. Once analysts uncovered

and reported on allegations of Tactile’s perpetration of a kickback scheme and false claims

made to Medicare, Medicaid and the VA, Tactile’s stock dropped 7.53% from $60.10 per

share on March 20, 2019 to close at $55.57 per share on March 22, 2019. Yet, Defendants

hastened to minimize the seriousness of the allegations by calling the qui tam action

“meritless” and providing interviews to the analysts who published their version of events.

                    Finally, on June 8, 2020, Seeking Alpha published a report by OSS Research

titled “Strong Sell on Tactile Systems: Bloated Stock Needs Compression Therapy.” The

report provided new information on the kickback scheme and the false claims that Tactile

had made to third-party payers, and called into question for the first time the Company’s

reported addressable market for Flexitouch. On this news, the Company’s stock price fell

12.8%, or $6.95, from the prior trading day’s high of $54.21 per share to close at $47.26 per

share. This represented an over 38% drop from the Class Period high.




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                    As a result of the fraudulent conduct alleged herein, Lead Plaintiff and other

members of the Class purchased Tactile common stock at artificially inflated prices and

suffered significant losses and damages.

II.      JURISDICTION AND VENUE

                    Jurisdiction is conferred by 28 U.S.C. §1331 and §27 of the Exchange Act (15

U.S.C. §78aa). The claims asserted herein arise under §§10(b), 20(a) and 20(A) of the

Exchange Act (15 U.S.C. §§78j(b), 78t(a) and 78t-1), and Rule 10b-5 promulgated

thereunder (17 C.F.R. §240.10b-5).

                    Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and §27 of the

Exchange Act (15 U.S.C. §78aa). A substantial portion of the acts in furtherance of the

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alleged fraud, including the preparation and dissemination of materially false and misleading

information and the effects of the fraud, have occurred in this Judicial District. In addition,

during the Class Period the Company’s headquarters were located in this District at 3701

Wayzata Boulevard, Suite 300, Minneapolis, Minnesota 55416. The Company’s current

address is 1331 Tyler Street, Suite 200, Minneapolis, Minnesota 55413.

                    In connection with the acts and conduct alleged in this Complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including,

but not limited to, the U.S. mails, interstate telephone communications and the facilities of

the national securities exchanges and markets.

III.     PARTIES

         A.         Lead Plaintiff

                    Lead Plaintiff St. Clair County Employees’ Retirement System provides

pension plans, retirement plans, and various other benefits to its participants. As set forth in

the accompanying certification attached hereto, Lead Plaintiff purchased Tactile securities

during the Class Period and suffered damages as a result of the federal securities laws

violations detailed below.

         B.         Defendants

                    Defendant Tactile Systems Technology, Inc. is a medical device company that

specializes in manufacturing and developing devices to treat lymphedema, chronic swelling,

and venous ulcers. It is incorporated in Delaware and headquartered in Minneapolis. In

September 2013, it began doing business as “Tactile Medical.” On August 2, 2016, the

Company closed its initial public offering of its common stock, which resulted in the sale of

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4,120,000 shares of common stock at a public offering price of $10.00. During the Class

Period, the Company’s common stock traded on the NASDAQ stock exchange under the

symbol “TCMD.”

                    Defendant Gerald R. Mattys (“Mattys”) was Tactile’s Chief Executive Officer

(“CEO”) and a member of the Board of Directors (the “Board”) from 2005 until he retired on

June 8, 2020. As CEO and a Board member, Mattys regularly spoke on Tactile’s behalf in

releases, conference calls, and SEC filings. Pursuant to §906 of the Sarbanes-Oxley Act of

2002, 18 U.S.C. §1350, Defendant Mattys signed and certified the Company’s Forms 10-Q

and 10-K filed with the SEC, as discussed in further detail below. During the Class Period,

while in possession of material, non-public information, he sold at least 276,787 shares of his

stock at artificially inflated prices for proceeds of approximately $17,534,888, including

shares Mattys sold contemporaneously with purchases by members of the Class.

                    Defendant Lynn L. Blake (“Blake”) was Tactile’s Chief Financial Officer

(“CFO”) from April 2016 until she resigned on September 1, 2018. She remained employed

by the Company as a consultant until March 2019. As CFO, Defendant Blake regularly

spoke on Tactile’s behalf in releases, conference calls, and signed SEC filings. Pursuant to

§906 of the Sarbanes-Oxley Act of 2002, 18 U.S.C. §1350, Defendant Blake signed and

certified the Company’s Forms 10-Q and 10-K filed with the SEC, as discussed in further

detail below.         During the Class Period, while in possession of material, non-public

information, she sold at least 6,322 shares of her stock at artificially inflated prices for

proceeds of approximately $347,021, including shares Blake sold contemporaneously with

purchases by members of the Class.
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                    Defendant Brent A. Moen (“Moen”) became Tactile’s CFO on September 2,

2018, and was CFO through the end of the Class Period. As the Company’s CFO, Defendant

Moen regularly spoke on the Company’s behalf in releases, conference calls, and SEC

filings. Pursuant to §906 of the Sarbanes-Oxley Act of 2002, 18 U.S.C. §1350, Defendant

Moen signed and certified the Company’s Forms 10-Q and 10-K filed with the SEC, as

discussed in further detail below.

                    Defendant Robert J. Folkes (“Folkes”) was Tactile’s CFO from February 2005

to April 2016. In February 2015, he became Tactile’s Chief Operating Officer (“COO”), a

position he held until he was terminated in September 2020. During the Class Period, while

in possession of material, non-public information, he sold at least 154,487 shares of his stock

at artificially inflated prices for proceeds of approximately $8,766,755, including shares

Folkes sold contemporaneously with purchases by members of the Class.

                    Defendant Bryan F. Rishe (“Rishe”) was Tactile’s Senior Vice President of

Sales (“SVP”) throughout the Class Period. He managed the entire field sales team,

including the VA sales team. He was directly involved in pressing the Company’s sales

representatives to exceed their sales quotas so the Company could report revenue growth

each quarter. In a signed declaration filed in an employment discrimination case, Rishe

stated that he was “responsible for leading sales strategy and execution through a team of

Area Directors and Region and District Managers in order to achieve revenue growth goals

for Tactile.” He further affirmed that as a part of Tactile’s annual planning process, he

reviewed year-over-year growth “on a number of metrics.” He declared that “[t]hese growth

numbers are very important to Tactile.” During the Class Period, while in possession of
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material, non-public information, he sold at least 133,289 shares of his stock at artificially

inflated prices for proceeds of approximately $7,294,280, including shares Rishe sold

contemporaneously with purchases by members of the Class.

                    Defendant William W. Burke (“Burke”) was a member of Tactile’s Board and

a member of the Board’s audit and compliance committees throughout the Class Period. As

a member of the audit and compliance committees, he was responsible for overseeing the

Company’s compliance and risk management processes, including compliance with anti-

kickback laws and the False Claims Act. During the Class Period, he sold at least 16,662

shares of his stock at artificially inflated prices for proceeds of approximately $924,961,

while in possession of material, non-public information, including shares Burke sold

contemporaneously with purchases by members of the Class.

                    Defendant Richard J. Nigon (“Nigon”) was a member of Tactile’s Board, a

member of the Board’s compliance committee, and chairman of the Board’s audit committee

throughout the Class Period. As a member of the compliance committee and chairman of the

audit committee, he was responsible for overseeing the Company’s compliance and risk

management processes, including compliance with anti-kickback laws and the False Claims

Act. During the Class Period, he sold at least 26,876 shares of his stock at artificially

inflated prices for proceeds of approximately $1,343,375, while in possession of material,

non-public information, including shares Nigon sold contemporaneously with purchases by

members of the Class.

                    Defendant Kevin H. Roche (“Roche”) was a member of Tactile’s Board, a

member of the Board’s audit committee, and chairman of the Board’s compliance committee
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throughout the Class Period. As a member of the audit committee and chairman of the

compliance committee, he was responsible for overseeing the Company’s compliance and

risk management processes, including compliance with anti-kickback laws and the False

Claims Act. During the Class Period, he sold at least 50,000 shares of his stock at artificially

inflated prices for proceeds of approximately $2,608,247, while in possession of material,

non-public information, including shares Roche sold contemporaneously with purchases by

members of the Class.

                    Because of their improper Class Period sales of Tactile shares, Defendants

Mattys, Blake, Folkes, Rishe, Burke, Nigon, and Roche are also collectively referred to as

the “Insider Trading Defendants.”

                    Defendants Mattys, Blake, Moen, Folkes, Rishe, Burke, Nigon, and Roche, are

collectively referred to as the “Individual Defendants.”

                    Additionally, because of their positions, the Individual Defendants possessed

the power and authority to control the contents of the Company’s quarterly reports, press

releases, and conference calls with securities analysts, money and portfolio managers and

institutional investors, i.e., the market.        They were provided with copies of and/or

contributed to the Company’s reports and press releases alleged herein to be misleading prior

to or shortly after their issuance and had the ability and opportunity to prevent their issuance

or cause them to be corrected. Because of their positions, and their access to material non-

public information available to them but not to the public, the Individual Defendants knew or

recklessly disregarded that the adverse facts and omissions specified herein had not been

disclosed to, and were being concealed from, the public, making their positive
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representations materially false and misleading. The Individual Defendants are liable as

control persons for the false and misleading statements and omissions pleaded herein.

IV.      SUBSTANTIVE ALLEGATIONS

         A.         Tactile’s Business and Lymphedema

                    Tactile is a medical technology company that manufactures and sells medical

devices for the at-home treatment of chronic diseases, including lymphedema and CVI. Its

primary product, Flexitouch, including its latest generation system which came online during

the Class Period, the Flexitouch Plus, is the Company’s proprietary at-home solution for

lymphedema.

                    Lymphedema is a chronic disease characterized by swelling in the arms, legs,

neck, trunk, and other parts of the body. It occurs when the body’s lymphatic vessels

(vessels that transport lymph fluid) are unable to drain lymph fluid from affected parts of the

body, resulting in swelling. Lymphedema may result from any condition or procedure that

damages the lymph nodes or lymphatic vessels, such as cancer, radiation, surgery, obesity,

infection, scar tissue formation, trauma, or chronic venous insufficiency. While there is no

known cure for lymphedema, it is typically managed with diligent treatment.

                    Treatment varies depending on the severity of the condition, which has four

stages. In lymphedema’s first stage, sometimes called “Stage 0” because the lymphedema is

latent, no swelling is present, although lymph fluid transport has been impaired. A patient

may remain in this latent stage for months or years before swelling appears. In Stage 1,

some swelling appears, but it can be reduced with elevation. In Stage 2, swelling worsens,

and elevation rarely reduces the swelling. In Stage 3, swelling is present, but skin changes

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also occur, including fat deposits and warty overgrowths. Adequate treatment can slow or

prevent progression from one stage to the next.

                    Treatments include manual lymph drainage, compression therapy, exercise,

and skin care. Manual lymph drainage is a tissue massage that is designed to stimulate the

lymph vessels, which helps to accelerate lymph drainage. It is typically performed by a

physical therapist. Compression therapy includes the use of bandages and wraps that help to

force fluid around the body. The typical first line of lymphedema treatment is called

complete decongestive therapy (“CDT”). It consists of a combination of manual lymph

drainage, compression therapy, exercise, and skin care, and it is considered the gold standard

of lymphedema treatment.

                    For more advanced cases, or cases for which CDT has failed to effectively

improve symptoms, physicians may prescribe surgery or a PCD. A PCD is a machine that

has an inflatable sleeve or vest-like garment attached to it, with multiple chambers (like

balloons) that inflate one after the other to stimulate the flow of lymph fluid in the right

direction.

                    There are two types of PCDs: basic and advanced. Physicians typically must

prescribe basic PCDs before prescribing any advanced PCD. Under the standardized

Healthcare Common Procedure Coding System (“HCPCS”) used by private insurers and

CMS, simple PCDs, described as the “segmental home model without calibrated gradient

pressure” are assigned HCPCS Code E0651. As Defendants described in their 2019 Form

10-K, their Entre system was “simple” or a “basic pneumatic compression device” suitable

for “patients who do not yet qualify for insurance coverage of an advanced compression
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device such as our Flexitouch Plus system.” Advanced PCDs like Flexitouch are described

as the “segmental home model with calibrated gradient pressure” and are assigned HCPCS

Code E0652. Mattys informed investors that the average selling price of Flexitouch is

“basically a 3 to 4x increase . . . compared to an Entré.”

                    Tactile derives roughly 90% of its revenue from sales of its Flexitouch. The

Flexitouch is an automated and programmable PCD that is meant for at-home treatment, and

it is designed to stimulate the lymphatic system similar to manual lymph drainage therapy.

The device consists of an electronic controller unit and multiple contoured garment

configurations for the legs, arms, head, neck, trunk, or chest. Tactile derives a small fraction

of its revenue from sales of Entre.

Year          Total Revenues         Flexitouch           Combined Entre       Flexitouch
              ($ millions)           Revenues             and Actitouch        System
                                     ($ millions)         Revenues             Percentage of
                                                          ($ millions)         Total Revenues
                                                                               (%)
2017          $109.3                 $100.3               $9                   92%

2018          $143.8                 $131.9               $11.8                92%

2019          $189.5                 $171.3               $18.2                90%

2020          $187.1                 $163.9               $23.2                88%



                    Tactile’s devices are used primarily to treat lymphedema, but they also may be

used to treat swelling related to CVI, which is called phlebolymphedema. CVI is a condition

that occurs when venous walls and/or valves do not function properly, which makes it

difficult for the blood to return to the heart from the legs, and causes blood to pool in the

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veins. CVI symptoms include varicose veins, swelling, and skin changes. In severe CVI

cases, vein malfunction affects the lymphatic system, which causes lymph fluid to collect in

the affected area, causing phlebolymphedema. Phlebolymphedema is an emerging concept,

and it has not been extensively researched. For that reason, some private insurers consider

PCD treatment to be investigational and do not cover it.

                    Tactile’s business relies in large part on third-party payers, which include

private insurers, Medicare and Medicaid, and the VA. The table below shows Tactile’s

revenues from third-party-payers:

                             Private Insurers                VA                Medicare
                                 $ million                $ million             $ million
                               % Revenues                % Revenues            % Revenues
         2017                  $80.9                     $19.7                 $8.6

                                74%                      18%                    8%

         2018                  $102.2                    $28.0                $13.5

                                71%                      20%                    9%

         2019                  $136.4                    $31.3                $21.8

                                72%                      17%                   11%

         2020                  $132.8                    $24.5                $29.9

                                71%                      13%                   16%



                    As stated in its 2018 Form 10-K, Tactile recognized revenue from the sale of

its products “upon transfer of control of the product to the customer at a transaction price

determined by collection history.” Generally, revenue was recognized upon shipment. As

the Company explained, the transaction price was “impacted by multiple factors,” such as,

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for private insurers, “the payment history of the applicable payer drawn from actual write-off

and collections experience from the payer over a rolling 12-month period, as well as

historical patient collections.” Thus, such payments “typically are less than our standard

charge and represent an implicit price concession, resulting in variable consideration.”

Meanwhile, in the VA channel, the Company’s “contract is with the [VA] rather than the

patient. . . . These contracts determine the amount of consideration, which is typically paid

in full within 2-3 days of shipment, and therefore there is no implicit price concession.”

         B.         Tactile’s Fraudulent Course of Conduct

                    Throughout the Class Period, Defendants engaged in a scheme that enabled

them to artificially inflate Tactile’s stock price and profit from over $30 million in illegal

insider trading sales. First, Defendants paid illegal kickbacks to clinicians to induce the

prescription of Flexitouch. Second, Defendants assisted physicians in submitting false

reimbursement claims to Medicare. Third, Defendants overstated their CMS and VA

revenue as the RAC Audit imposed greater scrutiny on submitted claims.                Fourth,

Defendants distorted clinical study results to exaggerate the number of lymphedema patients

in the U.S. This allowed them to vastly overstate the Company’s TAM. The illegal

kickbacks and false claims allowed Defendants to sell Flexitouch to patients that otherwise

would not have qualified for it. As a result of the illegal sales practices, false CMS and VA

revenue recognition, and falsely reporting the findings from clinical medical studies, Tactile

deceived investors that their growing revenues were earned by legitimate means and that the

revenue could continue in an outsized market. When the truth was revealed – after the



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Insider Trading Defendants had raked in millions of dollars from selling Tactile shares –

investors suffered losses.

                    1.     Tactile Paid Illegal Kickbacks to Induce Flexitouch Sales

                    Tactile engaged in a kickback scheme that illegally remunerated hospital staff

and physicians to induce them to prescribe Tactile’s products. This practice violated the

federal Anti-Kickback Statute (the “AKS”). The AKS criminalizes the knowing and willful

offer or payment of remuneration to any person to induce that person to: (1) refer for

furnishing or arrange for furnishing any item or service for which payment may be made

under a federal healthcare program; or (2) purchase, lease, order, or arrange for or

recommend the purchasing, leasing, or ordering of any item for which payment may be made

under a federal healthcare program.2 Remuneration under the AKS means anything of value,

regardless of its form. Defendants knew that it was unlawful to remunerate health care

providers to induce them to prescribe Tactile’s devices. In the Company’s 2018 and 2019

Forms 10-K filed with the SEC, Defendants disclosed:

         The Federal Anti-Kickback Statute, among other things, prohibits the knowing
         and willful offer, payment, solicitation or receipt of any form of remuneration,
         whether directly or indirectly and overtly or covertly, in return for, or to
         induce the referral of an individual for the: furnishing or arranging for the
         furnishing of items or services reimbursable in whole or in part under
         Medicare, Medicaid or other federal healthcare programs; or purchase, lease,
         or order of, or the arrangement or recommendation of the purchasing, leasing,

2
       The AKS includes a safe harbor that exempts payments made for personal services.
During the Class Period, the safe harbor had seven requirements. One requirement was that
the contract for the personal services set in advance the aggregate payment to be paid over
the term of the contract. None of the following arrangements set aggregate compensation in
advance: (1) Tactile’s Physician Speaking Agreement; (2) Tactile’s Contract Trainer
Program; and (3) Tactile’s Scientific Advisory Board and Speaker Consultant Agreement.
Accordingly, none of the arrangements fell within the safe harbor.

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         or ordering of any item or service reimbursable in whole or in part under
         Medicare, Medicaid or other federal healthcare programs.

                                           *      *      *

         Noncompliance with the Federal Anti-Kickback Statute can result in civil,
         administrative and criminal penalties, restrictions on our ability to operate in
         certain jurisdictions, and exclusion from participation in Medicare, Medicaid
         or other federal healthcare programs. In addition, to the extent we are found to
         not be in compliance, we may be required to curtail or restructure our
         operations. Any penalties, damages, fines, exclusions, curtailment or
         restructuring of our operations could adversely affect our ability to operate our
         business, our financial condition and our results of operations.

                    Nevertheless, Tactile violated the AKS by remunerating health care providers

to induce them to prescribe Tactile’s devices. First, according to the qui tam lawsuit, Tactile

ran a Key Opinion Leader (“KOL”) program under which it remunerated healthcare

providers to induce them to promote and prescribe its products. Tactile recruited KOL

providers that were likely to produce a high number of referrals. A sealed exhibit cited in the

summary judgment briefing for the qui tam lawsuit stated: “‘Key Opinion Leaders or KOLs

are clinicians who have a high referral rate to us, regularly identify and diagnose

lymphedema and/or chronic venous insufficiency and have a well-known and highly credible

background with which to influence others.’” In a presentation given at the Company’s 2018

National Sales Meeting, Defendant Rishe presented a slide that highlighted: “‘KOL

SPEAKERS PROGRAM – THE MOST EFFECTIVE TOOL EVER FOR GAINING

ACCESS IN YOUR HARD TO SEE ACCOUNTS AND A STRONG COORELATION

[sic] TO IMMEDIATE NEW REFERRALS.’”




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                    Tactile also tracked the referrals it garnered from its KOL doctors. As

demonstrated by the chart below, in 2019 Tactile received a significant number of referrals

from its paid KOL doctors:

KOL Doctor                         Remuneration Received      Number of Tactile
                                   from Tactile in 2019       Devices Referred in 2019
Matthew M. Melin                   $102,129.06                109
Ron J. Karni                       $84,935.05                 123
Igor A. Altman                     $45,376.75                 45
Vinay Satwah                       $27,819.12                 179
Nicholas Morrissey                 $21,912.14                 197
Mihir Bhayani                      $16,799.25                 25
Michael A. Vasquez                 $6,188.06                  23
Jay K. Radhakrishnan               $2,863.64                  158
Willy Yung Wei-Chi                 $1,817.22                  12
TOTAL                              $309,840.26                871


                    Although the Company characterized the remuneration as speaking and

consulting fees, the events at which the KOL doctors spoke were often hosted at luxury

hotels and lavish restaurants, and 90% were not certified continuing education programs.

These were the exact kind of “speaking arrangements” that were recently flagged as high risk

for fraud and abuse in the Department of Health and Human Services Office of the Inspector

General’s recent “Special Fraud Alert.” The alert noted the fraud risks inherent in speaker

programs and discussed that the U.S. Department of Justice and Office of Inspector General

(“OIG”) had investigated numerous cases in which compensation for “speaking events” was

found to be illegal remuneration.          Notably, the alert provided a list of “suspect

characteristics” that, taken separately or together, may indicate a speaker program that

violates the AKS. The list included:


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                           “Alcohol is available or a meal exceeding modest value is provided to

the attendees of the program (the concern is heightened when the alcohol is free)”;

                           “The program is held at a location that is not conducive to the exchange

of educational information (e.g., restaurants or entertainment or sports venues)”; and

                           “The company’s sales or marketing business units influence the

selection of speakers or the company selects Health Care Professional speakers or attendees

based on past or expected revenue that the speakers or attendees have or will generate by

prescribing or ordering the company’s product(s) (e.g., a return on investment analysis is

considered in identifying participants).”

                    Tactile’s events demonstrate each of the three suspect characteristics listed

above. For example, Tactile paid Dr. Ron J. Karni to travel to Los Angeles, Las Vegas, and

Scottsdale to give a series of presentations. The presentation in Las Vegas took place at

Lawry’s The Prime Rib steakhouse. It included a private dinner that was attended by 20

people, including four VA employees. The dinner bill totaled $2,782.89, or $139.14 per

person. Notably, VA employees are prohibited from accepting any gift with a value greater

than $20. The Company also paid for Dr. Karni’s stay in a king suite at the Wynn Encore

Tower on the Las Vegas strip. Two days later, the Company paid Dr. Karni to give a

presentation at Tommy Bahama in Scottsdale, Arizona. Tactile remunerated Dr. Karni

$17,209.29 for the one-week trip.

                    Tactile also hosted lavish dinners and extravagant “cocktail receptions” for

high-referring health care providers. The dinners were organized by Tactile’s marketing

department and hosted by salespeople. When determining the event’s invitees, the Company
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identified “warm” leads and accounts that had referred patients before the event. Tactile was

also careful not to invite health care providers that it thought may not provide a great return

on investment. For example, in one conversation, a Tactile employee stated: “‘I feel hesitant

to have Dr. Satwah or any other MDs fly out to speak to a group which I am not confident

will render a great ROI.’”

                    Tactile also used the KOL program to target the VA. For example, in 2018 and

2019, Tactile remunerated San Francisco VA physician Dr. Arman Kirakosian a total of

$4,401.58. In 2019, Dr. Kirakosian prescribed at least three Tactile devices, and from 2017

to 2020, the San Francisco VA reported the highest cost in the United States for orders for

Tactile’s devices. Further, at the Company’s 2018 national sales meeting, Rishe presented

slides that exclaimed: “‘WHAT YA’LL ARE DOING IN THE VA CHANNEL IS

NOTHING SHORT OF SPECTACULAR!’” and “‘SO WE’VE STARTED THE VA

MILLION DOLLAR CLUB.’”

                    In addition to the KOL program and events, Tactile illicitly increased its

Flexitouch sales by remunerating non-physician health care providers to induce them to

convince physicians to prescribe Flexitouch. Lymphedema therapists often recommend and

influence what lymphedema treatment patients receive. According to Tactile’s filings with

the SEC, it hired “over 560 licensed, independent healthcare practitioners as home trainers”

to assist patients on how to use Flexitouch. But assisting patients was not the trainers’ only

purpose – Tactile intended the trainers to increase referrals for Flexitouch. As Tactile noted

in its Form 10-K for the year ended December 31, 2018, “[t]hese trainers are healthcare

professionals . . . who we have identified through our sales and marketing interest.”
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Strikingly, in an effort to conceal its illegal kickbacks to trainers, Tactile eliminated this last

quote in the next year’s Form 10-K.

                    The scheme worked as follows: Staff in Tactile’s Minneapolis offices assigned

and coordinated the trainers for home visits. Tactile paid the trainers $150 per training.

Notably, these trainers were employed at the very hospitals and other facilities in which

Tactile sought to sell its products. The trainers were incentivized to refer physicians to

Flexitouch because encouraging Flexitouch prescriptions helped secure their continuing

assignment by Tactile to future in-home training sessions. In fact, the Company evaluated

the trainers not on their ability to successfully train patients in the product, but rather in

getting more referrals for Flexitouch. One Tactile evaluator for a trainer’s “performance

assessment” wrote: “Wish she’d get more patients.” Thus, even Tactile’s compliance

officer, a lawyer, documented that Tactile’s arrangements with therapists posed a high

“Business Risk” for “kickbacks.”

                    According to a former Senior Sales Specialist employed by Tactile from

August 2011 through September 2015, her superior, a Regional Director who reported

directly to Defendant Rishe, instructed her that she should not hire or keep a trainer unless

they provided referrals for the Company. On at least two occasions, when trainers were not

providing enough referrals, the Regional Director told the Senior Sales Specialist to dismiss

those trainers. She further recalled that two of her trainers were her best source of sales

through referrals. The Senior Sales Specialist only learned at her next company that

expecting referrals was improper.



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                    Thus, this scheme violated the AKS and was illegal because the trainers that

Tactile hired were in a position to recommend that physicians prescribe Tactile’s devices.

Tactile rewarded those trainers who obtained satisfactory numbers of referrals with more

training assignments.

                    Furthermore, the contract trainer kickback scheme directly involved the VA.

For example, during the Class Period, Tactile remunerated at least two VA hospital

employees to recommend that VA physicians prescribe Tactile’s devices. For example, in

2018 Tactile remunerated VA employee Norma Gonzalez $3,250 for services provided to

patients. Tactile also remunerated VA employee Brandi Rhoudes for services provided to

patients.      In 2018, Tactile remunerated Ms. Rhoudes $17,350, and in 2019, Tactile

remunerated Ms. Rhoudes $9,775.              At the Company’s 2018 national sales meeting,

Defendant Rishe commented on contract trainers’ ability to expand business into the VA,

stating: “‘SO HOLD BACK ON VA FOR NOW – UNTIL WE CAN GET ON THE FSS

[FEDERAL SUPPLY SCHEDULE] BUT LETS PLAN TO CAPITIZE [SIC] ON THIS

BILATERAL FEATURE WITH THERAPISTS, VASCULAR AND EVEN WC [WOUND

CARE] ACCOUNTS.’”

                    The risks associated with the kickback scheme were severe. Criminal penalties

and administrative sanctions for violating the AKS include fines, jail time, and exclusion

from participation in the federal healthcare programs such as Medicare and VA health care

programs. The Exclusion Statute, 42 U.S.C. §1320a-7, requires the OIG to exclude

individuals and entities from participation in all federal health care programs if the

individuals or entities are convicted of Medicare or Medicaid fraud, as well as any other
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offenses related to the delivery of items or services under Medicare or Medicaid. The

Exclusion Statute also allows the OIG to exclude individuals and entities from participation

in all federal health care programs if the individuals or entities are found to have engaged in

unlawful kickback arrangements. Throughout the Class Period, approximately one-third of

Tactile’s revenue came from CMS and the VA. Thus, Tactile’s kickback schemes risked

Tactile losing nearly one-third of its business if, through a finding of any violation of the

AKS, Tactile was excluded from participating in the federal health care programs.

                    2.    Tactile Submitted False Claims to Federal Health Care
                          Programs

                    Tactile also violated the False Claims Act, which prohibits any person from:

(1) knowingly presenting or causing to be presented a false or fraudulent claim for payment

or approval; and (2) knowingly making or causing to be made a false record or statement

material to a false or fraudulent claim. Tactile knew that it was subject to and violated the

False Claims Act. In its 2018 and 2019 Forms 10-K filed with the SEC, the Company

disclosed:

         The federal false statements statute prohibits knowingly and willfully
         falsifying, concealing, or omitting a material fact or making any materially
         false statement in connection with the delivery of healthcare benefits, items, or
         services. In addition to criminal penalties, violation of this statute may result
         in collateral administrative sanctions, including exclusion from participation
         in Medicare, Medicaid and other federal health care programs.

                                               *     *      *

                In addition, we bill Medicare Part B and other insurers directly for each
         sale to patients. As a result, we must comply with all laws, rules and
         regulations associated with filing claims with the Medicare program, including
         the Social Security Act, Medicare regulations, the Federal False Claims Act
         and the Civil Monetary Penalties Law, as well as a variety of additional
         federal and state laws. During an audit, insurers typically expect to find
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         explicit documentation in the medical record to support a claim. Physicians
         and other clinicians, who are responsible for prescribing our products for
         patients, are expected to create and maintain the medical records that form the
         basis for the claims we submit to Medicare and other insurers.

                    Nevertheless, the Company violated the False Claims Act by falsely certifying

that it complied with the AKS. CMS requires that when a provider submits a claim, the

provider certifies that it is in compliance with, among other laws, the AKS. Falsely

certifying compliance with the AKS in connection with a claim submitted to a federally-

funded insurance program is actionable under the False Claims Act. Accordingly, an AKS

violation is also a False Claims Act violation when the provider submits a claim to a federal

health care program and falsely certifies that it has complied with the AKS.

                    As described above, Tactile violated the AKS by submitting claims to federal

health care programs in connection with kickbacks paid to doctors and trainers. Tactile

accordingly also violated the False Claims Act by falsely certifying compliance with the

AKS in connection to claims submitted to federal health care programs.

                    Second, Tactile violated the False Claims Act by providing false medical

necessity information. Before CMS will cover a PCD, it requires that the prescribing

physician sign a certificate of medical necessity explaining why the device is medically

necessary. When determining medical necessity, the physician is required to describe

previous treatments that were attempted but failed to alleviate symptoms. Notably, CMS

will cover an advanced PCD only when the patient “has unique characteristics that prevent

them from receiving satisfactory pneumatic compression treatment using a nonsegmented

device in conjunction with a segmented appliance or a segmented compression device


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without manual control of pressure in each chamber.” The prescribing physician must also

provide documentation that four weeks of more conservative therapy failed to significantly

improve symptoms.

                    Describing Tactile’s process for getting Medicare reimbursement for

Flexitouch, the former Senior Sales Specialist stated that the Entre, Tactile’s basic E0651

pump, was “designed for failure” and that Tactile had no interest in patients continuing to

use them. In fact, Tactile had developed the Entre merely to “demo” to the patients for an

hour and then record that the treatment had failed – rather than treat the patient with the basic

pump for four weeks and record whether there was improvement. She had not been

instructed to monitor the patient with the basic PCD for 30 days, which she later came to

understand was the criteria under Medicare.

                    Further, Tactile sales representatives and therapists routinely provided pre-

filled medical necessity forms to prescribing physicians, according to a Seeking Alpha report.

For example, the report provided a copy of a fax that a Tactile sales representative sent to a

physician. The fax included a draft medical necessity narrative that the sender instructed the

physician to copy onto his or her letterhead and sign. The report also provides examples of

pre-filled PCD prescriptions that Tactile sales representatives sent to prescribing physicians,

with instructions directing the physician to sign. Further, the report contained a copy of a

“medical justification template” that a Tactile representative sent to doctors at a Dallas,

Texas VA hospital. In red at the top of the form, the sales representative urged: “Please note

that Medical Justification is KEY to getting your patient the Flexitouch Plus Pump. The

more documentation of WHY they need FT [Flexitouch] over a high pressure squeeze and
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hold pump (veterans first pump) that has no clinical evidence, the better.” The representative

then provided eight examples of language the physician could use to demonstrate medical

necessity, and instructed the physician to choose two. Many of the examples give reasons

describing why a basic pump would be ineffective.

                    Had Tactile provided accurate narratives that the treating physician reviewed

and then signed, the practice may have been legal. However, on January 23, 2019, CMS’s

Recovery Audit Contractor (“RAC”) announced a “complex” audit of PCDs and the medical

necessity requirement. In its first round of audits, the auditor flagged 71% of Tactile’s

claims for failure to establish medical necessity. In December 2019, the auditor requested

further claims for review. 81% of the claims requested from Tactile in the second round of

audits were retroactively denied for lack of medical necessity. Further, between the two

waves, the percentage of audit claims that were directed to Tactile increased from 5% to

12%.

                    The risks associated with the false claims violations were severe. Civil

penalties include fines up to three times the amount the government paid for each false claim

plus an additional penalty of up to $22,363 for each false claim paid. Under the Exclusion

Statute, false claims violations can also lead to permanent exclusion from federal healthcare

programs. Throughout the Class Period, roughly one-third of Tactile’s revenue came from

CMS and the VA. If Tactile were to be excluded from participation in the federal health care

programs, it would lose one-third of its business.




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                    3.    Defendants Fabricated Flexitouch’s Market Size

                    To assure investors that Tactile could sustain its approximately 30% revenue

growth, Defendants made false and misleading statements regarding the market size for

Flexitouch. Specifically, Defendants misled investors regarding: (1) Tactile’s TAM, which

is typically used to calculate the revenue opportunity available for a product; and (2)

lymphedema’s prevalence in the United States.

                          a.     Tactile’s Total Addressable Market

                    During the Class Period, Tactile’s TAM was calculated by multiplying the

diagnoses of U.S. lymphedema patients by the average cost of Tactile’s products. As the

Company explained to investors in its 2018 Form 10-K, TAM was “based on the number of

patients diagnosed with lymphedema and our average selling price per device.”

                    Tactile significantly overstated the number of U.S. lymphedema diagnoses. In

2018, Tactile determined based on a claims data analysis that there were 1.1 million

lymphedema diagnoses, and in 2019, there were 1.3 million. With the U.S. population at

approximately 325 million people, the incidence rates for lymphedema, according to

Defendants, was 0.3% in 2018 and 0.4 % in 2019.

                    According to a May 2019 investor presentation, Tactile assumed that its

average selling price per device was the cost of its Flexitouch, which was roughly $4,000.

Thus, in 2018, Tactile calculated its reported TAM by multiplying the 1.1 million

lymphedema diagnoses by $4,000, and arrived at a $4.4 billion TAM. In 2019, Tactile

calculated its reported TAM by multiplying the 1.3 million lymphedema diagnoses by



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$4,000, and arrived at a roughly $5 billion TAM. These were the TAM figures that Tactile

reported to investors.

                    However, as Seeking Alpha revealed in its report “Strong Sell On Tactile

Systems: Bloated Stock Needs Compression Therapy” published on June 8, 2020, “[t]he true

addressable market for Flexitouch is significantly lower.” Compared to Defendants’

estimates of $4-$5 billion, Seeking Alpha estimated Flexitouch’s TAM to be only

approximately $300 million.

                    Seeking Alpha’s conclusion was based in part on an article co-authored by

Tactile’s own Chief Medical Officer, Thomas O’Donnell, who was appointed in July 2017.

The article was titled: “Health and economic benefits of advanced pneumatic compression

devices in patients with phlebolymphedema” (“O’Donnell Study”).

                    The study performed a claims data analysis of health insurance claims from

Blue Health Intelligence (“BHI”), a research database, for the full years 2012-2016. The

database contained data on over 165 million members of individual Blue Cross Blue Shield

plans from across the U.S. It is the same database that Defendants claimed to have used to

report their overstated figures of 1.1 and 1.3 million new diagnoses for the 12 months ended

June 30, 2018 and 2019, respectively.

                    The O’Donnell Study identified 81,366 out of 165 million patients on BHI

were diagnosed with lymphedema not caused by filarial worms. The finding indicates that

the incidence rate during that period was .05% – six times smaller than the incidence rate

reported by Defendants in 2018. Using the incidence rate from the O’Donnell Study and

applying it to the average U.S. population yields only about 160,000 new lymphedema
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diagnoses per year for the years 2012-2016. Even assuming an 18% growth rate of

lymphedema diagnoses each year, as Tactile claims in its 2019 Form 10-K, that would result

in 310,200 new diagnoses in the year 2020. The resulting TAM is at least three times

smaller than Defendants reported.

                    Moreover, as Seeking Alpha notes, because “the 81,366 figure is over four

years, . . . the annual incidence would be even lower.”

                    In addition to the fact Tactile’s own Chief Medical Officer authored an article

that did not support the reported incidence rates for lymphedema, Defendants overstated

Flexitouch’s TAM for another reason: not everyone diagnosed with lymphedema has

symptoms serious enough to require Flexitouch. Flexitouch is prescribed only for later-stage

cases of lymphedema in which the patient has suffered from more severe swelling and in

which traditional methods for lymphedema treatment have not worked. In fact, more

conservative CDT treatments of lymphedema, such as compression garments or bandages,

manual lymph drainage, exercise, and elevation can slow progression of and even improve a

patient’s lymphedema. To that end, the National Lymphedema Network published a position

paper called “The Diagnosis and Treatment of Lymphedema” that reported on CDT’s ability

to improve lymphedema patients’ limb volume and quality of life:

         CDT has been shown to be effective in large numbers of case studies
         demonstrating limb volume reductions of 50-70% or more, improved
         appearance of the limb, reduced symptoms, improved quality of life, and
         fewer infections after treatment. Even people with progressive lymphedema
         for 30 years or more before starting CDT have been shown to respond.

Similarly, the National Comprehensive Cancer Network has stated that early diagnosis and

treatment improves both the prognosis and the condition.

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                    Thus, third-party payers required proof that the lymphedema conditions had

not improved through CDT methods before covering more expensive treatment options like

PCDs.        For example, the CMS’s National Coverage Determination for Pneumatic

Compression Devices required “a four-week trial of conservative therapy” resulting in no

significant improvement before a PCD would be covered in the home:

                 Pneumatic compression devices are covered in the home setting for the
         treatment of lymphedema if the patient has undergone a four-week trial of
         conservative therapy and the treating physician determines that there has
         been no significant improvement or if significant symptoms remain after the
         trial. The trial of conservative therapy must include use of an appropriate
         compression bandage system or compression garment, exercise, and elevation
         of the limb. The garment may be prefabricated or custom-fabricated but must
         provide adequate graduated compression.

                    It also required a 6-month trial of conservative therapy before it would provide

coverage for a PCD to treat chronic venous insufficiency:

                Pneumatic compression devices are covered in the home setting for the
         treatment of CVI of the lower extremities only if the patient has one or more
         venous stasis ulcer(s) which have failed to heal after a 6 month trial of
         conservative therapy directed by the treating physician. The trial of
         conservative therapy must include a compression bandage system or
         compression garment, appropriate dressings for the wound, exercise, and
         elevation of the limb.

                    Private payers likewise set strict requirements. For example, the Corporate

Medical Policy for Blue Cross Insurance of North Carolina in 2020 emphasized that

“[p]neumatic compression devices are covered as a treatment of last resort.” (Emphasis in

original.) It provided that “ALL” of the following criteria must be met before eligibility for

coverage of a PCD is met:

                           Confirmed diagnosis of primary or secondary lymphedema; and


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                          Lymphedema is associated with functional impairment, e.g., impairment

of activities of daily living; and

                          When there is failure of a four-week trial of conservative medical

therapies (examples include elevation of the affected limb, exercise, massage, use of an

appropriate compression bandage system or compression garment); and

                          The patient has demonstrated compliance with past recommended

medical treatment(s).

(Emphasis in original.)

                    Blue Cross also determined that advanced PCDs (HCPCS Code E0652) – like

Flexitouch – were “considered medically necessary only when the patient has unique

characteristics that prevent them from receiving satisfactory pneumatic compression

treatment using a nonsegmented device with a segmented appliance/sleeve or a segmented

compression device without manual control of pressure in each chamber.”

                    Likewise, Aetna stated in its policy guidance that simple PCDs were

considered medically necessary only when all of the following were met: (1) a diagnosis of

lymphedema; (2) with persistent chronic and severe lymphedema, as documented by a

clinical finding of, for example, “deformity of elephantiasis” or skin breakdown with

persisting lymphorrhea; and (3) a four-week, documented trial of conservative therapy,

including compliant use of compression bandages or garments, regular exercise, and

elevation of the limb. Even if all of the above requirements were met, advanced PCDs, such

as the Flexitouch, were not considered medically necessary unless the patient’s lymphedema



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also (1) extended onto the chest, trunk, or abdomen; and (2) failed to improve after a four-

week trial on a simple PCD.

                    Thus, insurance providers have in place stringent requirements that disqualify

many lymphedema patients from using even a basic PCD, and have even stricter

requirements preventing access to advanced PCDs such as the Flexitouch. By using all

diagnoses of lymphedema, without qualification, to calculate its total addressable market,

Defendants made false and misleading statements about its TAM.

                           b.     Defendants Made False and Misleading Statements
                                  Regarding Lymphedema’s Prevalence

                    To support statements claiming that Flexitouch had a large market, Defendants

told investors that the U.S. lymphedema prevalence was 20 million patients. Prevalence

refers to the total number of lymphedema patients in the U.S.

                    During an earnings conference call in which Defendants presented Tactile’s

business and performance for year-end 2019, Defendant Mattys told investors that the

prevalence of phlebolymphedema, which is lymphedema caused by CVI, “is approximately

16 million in the U.S. alone. . . . This implies that the estimated prevalence of lymphedema

in the U.S. is considerably larger than previous estimates of 5 million.” As the Company’s

press release reported on the same day, with the newly identified cases of

phlebolymphedema, the total lymphedema prevalence increased “four-fold to over 20 million

individuals.”

                    The study he cited to support his statement was called “The Clinical

Characteristics of Lower Extremity Lymphedema in 440 Patients.” Notably, its lead author,


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Steven M. Dean, was a member of Tactile’s Medical Scientific Board. Moreover, between

2017 and 2019, Tactile had paid Dr. Dean over $70,000 in “consulting fees,” as well as funds

for food, drink and lodging. Tactile provided a grant for an independent analysis of the

statistical section in the study.

                    The study’s purpose was to determine the cause of each studied patient’s

lymphedema. It was not designed to estimate prevalence and in fact, did not suggest that 16

million individuals in the U.S. had phlebolymphedema. Rather, the study’s only mention of

the 16 million figure was in stating: “[I]t has been estimated that 5% of the population have

some skin changes associated with CVI, which equates to a four-fold increase in

[phlebolymphedema] prevalence of 16 million individuals.” In other words, the study

equated “skin changes associated with CVI” to phlebolymphedema.

                    Yet, not all patients suffering with CVI, an issue with blood flow through the

veins, develop phlebolymphedema. According to the Lymphatic Education & Research

Network, phlebolymphedema occurs when CVI becomes more advanced. Thus, contrary to

the conclusion drawn by the Tactile-sponsored study, merely because 5% of the U.S.

population may have some skin changes associated with CVI, does not mean that 5% of the

population has phlebolymphedema caused by CVI.

                    In sum, Tactile sold to investors the story of a $4-$5 billion addressable market

that was underpenetrated and quickly growing. In reality, Defendants had vastly overstated

Flexitouch’s market opportunity.




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         C.         Tactile’s Reported Revenues Concealed Defendants’ Kickback
                    Scheme and Misrepresented the Total Addressable Market

                    1.     Defendants’ Class Period Representations to Investors
                           Portrayed a Company Enjoying Approximately 30%
                           Revenue Growth from Its Flagship Product and a Largely
                           Untapped Market to Perpetuate that Revenue Growth

                    On May 7, 2018, at the start of the Class Period, Tactile issued its 1Q18 press

release announcing that “Q1 Revenues Increased 35% Year-over-Year; Flexitouch Revenues

Up 40%.” The press release quoted Defendant Mattys, who described the reasons for

Flexitouch sales growth, including “‘strong . . . sales’” in the VA sector, while concealing

Tactile’s illegal sales practices:

         “Our Flexitouch sales growth during the quarter continued to benefit from the
         expansion of our sales team in recent years, our efforts to target high-volume
         accounts and our expansion of in-network coverage with commercial insurers.
         In addition, we saw strong growth in sales to the Veterans Administration
         hospital system. We also made progress preparing for the commercialization
         of our latest-generation Flexitouch system, the Flexitouch Plus, which we
         launched in early April.”

                    Mattys further noted that “‘based on our strong start in the first quarter,’” the

Company was increasing its 2018 revenue guidance.

                    The same day, Defendants held their 1Q18 conference call. During the call,

Defendant Mattys reiterated the Company’s 35% year-over-year revenue growth that was

“driven by sales of our Flexitouch System.” Again, Mattys misleadingly attributed

Flexitouch’s sales growth solely to legitimate activities – such as “the expansion of our field

sales organization in recent years, our efforts to focus our sales team on targeting high-

diagnosing clinicians and our expanded in-network coverage with commercial insurers” –

while omitting the Company’s illegal sales practices.

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                    Mattys further highlighted as contributing to the Company’s revenue growth

the “strong sales into the Veterans Administration hospital system,” which was a result of

the “enhanced sales strategy” implemented for the VA channel. As a result, Mattys reported

that the “VA [was] one of their big accounts in the first quarter,” with “23% of sales” for the

quarter “versus 18% last year for the first quarter.”

                    Yet Defendants’ overwhelmingly positive reporting regarding Tactile’s

substantial revenue growth in 1Q18, “driven by sales of our Flexitouch system,” was

materially misleading. Defendants failed to disclose that illegal sales practices, such as

kickbacks to doctors and trainers for inducing sales to VA patients, and the false claims

submitted to CMS, had helped spur the reported revenue growth through the over-

prescription of Flexitouch.

                    On August 6, 2018, Tactile filed a Form 8-K with the SEC announcing that

Defendant Blake would resign “for personal reasons” effective September 1, 2018. The

Company also announced that the Board had approved the appointment of Defendant Moen

to replace Defendant Blake as CFO and Secretary, effective as of September 2, 2018.

                    The Company continued to announce its positive revenue results based on

illegal sales practices the next quarter. On August 6, 2018, Defendants announced their

2Q18 financial results and reported 30% year-over-year total revenue growth from

Flexitouch. Because of the reportedly outsized revenue growth, the Company again raised

its year-end revenue guidance.

                    The Company hosted an earnings call for investors on the same day.

Defendant Mattys emphasized that Tactile’s “Flexitouch sales growth also benefited from
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very strong sales into the Veterans Administration hospital system. Sales into the VA over

the first half of 2018 represented approximately 21% of our total revenue compared to

approximately 18% in the first half of 2017.” During the earnings call, Mattys also

emphasized the overstated “$4 billion-plus” market share opportunity to sell Flexitouch.

                    In 3Q18, Defendants continued to underscore Tactile’s growth in Flexitouch

revenues, driven in part by sales into the VA channel, while they concealed that illegal sales

practices had augmented the sales of Flexitouch to patients covered by federally funded

healthcare programs. In its press release filed November 5, 2018 on a Form 8-K to announce

its 3Q18 results, Tactile reported a stunning 28% increase in total year-over-year revenues,

from $28.3 million in 3Q17 to $36.3 million in 3Q18. Once again, the revenue growth was

attributed to Flexitouch sales, which saw its revenue increase 27% year-over-year to $33.3

million in 3Q18, compared to $26.2 million in 3Q17. Mattys was quoted stating: ‘“Our third

quarter revenue growth of 28% represents a continuation of the strong performance we have

achieved throughout 2018.”’ Mattys stated that ‘“Flexitouch system sales continue to drive

our revenue growth,”’ and that the Company’s ‘“focused selling strategy targeting high-

volume accounts and the Veterans Administration healthcare system”’ were drivers of that

growth. With another quarter of positive revenue growth, Defendants once again increased

their year-end revenue guidance.

                    Later on November 5, 2018, Tactile hosted an earnings call for investors to

discuss the 3Q18 results. Defendant Mattys touted the “impressive sales performance over

the first 9 months of 2018” and identified the Flexitouch system as “the primary driver of our

growth, increasing 31% year-over-year to $89.2 million.” Mattys also singled out the
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contribution of sales in the VA, detailing that “our Flexitouch sales growth continued to

benefit from very strong sales” into the VA. Specifically, “[s]ales into the VA over the first

9 months of 2018 increased 44% year-over-year, representing approximately 20% of our

total revenue compared to approximately 19% in the first 9 months of 2017.”

                    2.    Mattys Took Advantage of Insider Knowledge to Sell
                          Millions of Dollars in Tactile Shares Before the Qui Tam
                          Action Was Publicly Disclosed

                    As 2019 began, Defendants continued to emphasize to the market the pace of

the Company’s revenue growth for the remainder of 2018, while concealing the illegal sales

practices undertaken to sell Flexitouch to patients with health care coverage provided by the

VA and CMS. On January 7, 2019, Tactile issued a press release on a Form 8-K that

provided its preliminary results for 4Q18 and FY18. Mattys, quoted in the press release,

highlighted the Company’s ‘“strong execution”’ and ‘“revenue growth in excess of 30%,

driven by sales of our Flexitouch systems.”’ Mattys stated that the drivers of the Flexitouch

sales included the Company’s ‘“targeted selling strategy focused on our most productive

accounts and strong sales growth in the Veterans Administration channel.”’ Mattys further

stated that in 2019, the Company would ‘“continue to expand our share of the $4+ billion

U.S. market in lymphedema and chronic venous insufficiency.”’ With the reiteration of

revenue growth exceeding 30% and an expanding market for Flexitouch, Tactile’s stock

price climbed 26% from its close on January 7, 2019 at $47.35 per share to $59.73 on

January 8, 2019, and continued to climb in the weeks after.

                    Then, on January 23, 2019, Veterans First Medical Supply LLC (“VFMS”)

filed a sealed amended complaint against Tactile alleging, in part, that Tactile had violated

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the False Claims Act, 31 U.S.C. §3729, by making false claims and statements to the United

States under the Medicare and Medicaid Programs for goods or services procured by health

care facilities and hospitals, including a VA Medical Center in Houston, Texas. The qui tam

amended complaint alleged that, in violation of the federal AKS, Tactile made illegal

remunerations to doctors through speaker programs to induce them to write prescriptions for

Flexitouch. VFMS also alleged that Tactile paid illegal kickbacks to clinicians who were

employees of the hospitals from which the Flexitouch systems were prescribed. Tactile

recruited these clinicians at the hospitals where it tried to sell Flexitouch with the intention

that the payments to the trainers would induce more prescriptions of Flexitouch.

                    The Company was served with the qui tam sealed amended complaint on

February 13, 2019. Meanwhile, the market remained in the dark, as Tactile’s stock prices

continued to climb to over $70 per share.

                    Mattys took advantage of his insider knowledge. The combined total of insider

sales in the two days after the Company was served with the qui tam sealed amended

complaint were the largest that Mattys made during the Class Period – and were made when

the stock had nearly reached its Class Period high. On February 14 and 15, 2019, in the two

days after the Company was served with the qui tam action’s sealed amended complaint,

and two weeks before the Company publicly disclosed the qui tam action to investors for

the first time, Mattys raked in $3.5 million in proceeds for $2.8 million in profits from sales

of his Tactile stock.

                    But while Defendants mentioned the qui tam action in their 2018 Form 10-K,

they dismissed it as meritless. Identifying the qui tam action as United States ex rel.
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Veterans First Medical Supply, LLC v. Tactile Medical Systems Technology, Inc., No. 4:18-

cv-02871 (S.D. Tex.), Tactile’s 2018 Form 10-K minimized the import of the action, stating

that “[f]rom time to time, we may be subject to various claims and legal proceedings arising

in the ordinary course of business.” According to Tactile, qui tam suits have “increased

significantly in the healthcare industry in recent years” because the federal AKS and the

False Claims Act allow any person to sue on behalf of the government and to share in the

amounts paid by the entity to the government in fines or settlement. Tactile further noted

that the qui tam action against the Company was brought by one of Tactile’s competitors on

behalf of the United States, and that the United States had declined to intervene in the action.

Tactile stated that the lawsuit’s allegations were “without merit and we intend to vigorously

defend against the lawsuit.”

                    Defendants coupled these strenuous denials of wrongdoing with their

continued emphasis on Tactile’s blockbuster revenue growth and expansive addressable

market.

                    Specifically, on February 28, 2019, in a press release emphasizing in bold

italics at the top, “Q4 Revenue Increased 33% Year-over-Year; 2018 Revenue Up 32%,”

Mattys exclaimed that the Company’s 4Q18 and FY18 results were ‘“well ahead of our

expectations.”’ Driving the 32% year-over-year total revenue increase for 2018 was

Flexitouch’s revenue increase of 31% year-over-year. The press release also highlighted the

“‘strong growth’” in the VA channel and the continued expansion of “‘our share of the $4+

billion’” lymphedema TAM. The press release further announced that the Company



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expected continuing revenue growth in 2019, setting their revenue growth outlook at 20% to

22% year-over-year.

                    On that day’s earnings call with investors to present the 4Q18 and FY18

financial results, Mattys continued to be upbeat: “Simply stated, 2018 was a phenomenal

year for Tactile Medical. We achieved revenue of $143.8 million for the full year,

representing 32% growth year-over-year, exceeding our 2018 guidance range. Our 2018

revenue growth was driven by sales of our Flexitouch systems, which increased 31% year-

over-year to $131.9 million.”

                    Ignoring the allegations in the qui tam action, Mattys also highlighted during

the call the “exceptionally strong sales” in the VA channel, detailing that “[s]ales into the

VA in 2018 increased 42% year-over-year and represented approximately 20% of our total

revenue compared to approximately 18% in 2017.”

                    Defendants also continued to misrepresent the addressable market size by

introducing investors to Tactile-led claims data analyses that purportedly showed the number

of new lymphedema diagnoses per year increasing at a rapid pace. For example, during the

conference call regarding the Company’s results for the fourth quarter and full year of 2018,

Defendant Mattys stated:

                [O]ur addressable patient population remains vastly underpenetrated,
         given that Tactile Medical shipped over 32,000 Flexitouch systems during
         2018. With this in mind, despite our rapid pace of growth, we’re still in the
         early stages of penetrating our addressable market opportunity in the U.S.

                                            *      *      *

                In conclusion, for all these reasons, Tactile Medical will continue to
         lead the U.S. lymphedema market and grow our share of the $4 billion plus
         opportunity that it represents in 2019 and in the years to come.
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                    When an analyst later asked about plans to expand sales beyond the U.S.

border, Mattys reiterated that:

         [W]e are so underpenetrated in the U.S. market that, that is our laser focus for
         2019. We sold 35,000 units last year – 32,000, sorry, units last year and
         that’s on 1.1 million patients diagnosed. So this is a vastly underpenetrated
         market that we’re in now, and we want to try to focus our efforts there.

                    Thus, as far as investors knew, the qui tam action was a non-issue while

Tactile’s investment story continued to be one of unfettered growth within a vast and

underpenetrated market. As a result, even after Mattys’s blockbuster sale before disclosing

the qui tam action, the Insider Trading Defendants continued to sell their shares while

Tactile’s securities traded at artificially inflated prices.

                    3.    Even When the Qui Tam Action Began to Reveal that
                          Tactile Engaged in Illegal Sales Practices, Defendants
                          Continued to Fraudulently Highlight Tactile’s Strong
                          Earnings and Expansive Market Opportunity Until the
                          Truth Was Fully Disclosed

                    Then, on March 20, 2019, after market hours, the qui tam action’s amended

complaint was unsealed and made public for the first time. In the qui tam amended

complaint, VFMS alleged that Tactile paid “remuneration” or kickbacks to “influencers” to

induce them to write prescriptions for Flexitouch, in violation of the False Claims Act and

AKS. The qui tam amended complaint alleged that Tactile hired medical facility employees

as independent contract trainers, and paid them a flat rate of $150 plus mileage for each

patient that the contract trainer set up with Flexitouch. As the qui tam amended complaint

detailed, Tactile’s payments to the independent contract trainers who also worked at the very

medical facilities where PCDs were prescribed were to influence the physicians at the clinic

or medical facility to prescribe Flexitouch. VFMS alleged that as a result of this improper
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relationship, there were false certifications in forms submitted to CMS requiring physicians

to attest to the medical necessity of prescribing the Flexitouch system. The qui tam amended

complaint also alleged that the Company violated the AKS by paying doctors to be

“advisors” and “paid spokesmen.”

                    On March 22, 2019, securities analysts from Northland Capital and

Guggenheim Securities, LLC (“Guggenheim”) issued reports regarding the newly unsealed

qui tam amended complaint. Northland Capital issued a report titled: “Unsealed qui tam

raises questions. . . .” in which it provided “key details” of the allegations and a summary of

Tactile’s response to the allegations. The analyst concluded that as a result of the allegations

brought in the qui tam action, “there will be a tug of war for some time moving forward.”

For their reports, the analysts also interviewed Tactile management, who refuted the claims

in the qui tam action – claiming that Tactile was unaware of false certifications and

“refut[ing] the notion” that it pays physicians kickbacks.

                    Following these disclosures, the price of Tactile shares plunged 7.5%, or $4.53

from its closing price on March 20, 2019, to close at $55.57 on March 22, 2019.

                    Nevertheless, Defendants maintained the artificial inflation in Tactile securities

through their continued denial of the qui tam amended complaint’s allegations and

promotion of the Company’s revenue growth and addressable market.

                    On May 6, 2019, the Company issued a press release in which Mattys

applauded ‘“an exciting start to 2019”’ and another quarter with ‘“strong adoption of our

Flexitouch Plus system.”’ The Company reported that the 1Q19 total revenue had increased

40% year-over-year, to $37.6 million, with the adoption of new lease accounting rules
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accounting for 10% of the year-over-year increase in total revenue. Flexitouch revenue

increased 39% year-over-year, to $34.1 million, compared to $24.5 million in 1Q18. Mattys

attributed the 1Q19 revenue results to, among other items, ‘“investments we have made in

our sales team”’ and ‘“the continuation of our targeted sales strategy focused on high-

volume accounts.”’ As a result of the ‘“better than expected revenue performance,”’ Mattys

announced that an increase of ‘“our full year 2019 outlook”’ to ‘“now expect total revenue to

increase 25% to 27% year-over-year in 2019. We remain confident in our ability to deliver

strong revenue growth and improved profitability, as we continue to expand our penetration

of the $4+ billion U.S. lymphedema and chronic venous insufficiency markets.”’

                    Defendants maintained their upbeat message during the 1Q19 earnings

conference call held the same day, in which Mattys reported Tactile’s 40% revenue growth

year-over-year, “driven by sales and rentals of our Flexitouch Systems, which increased 39%

year-over-year to $34.1 million.”

                    During the call, Mattys further reiterated the strength of the VA channel,

stating: “We also continue to see strong performance in the VA during the first quarter, in

part due to the efforts of our dedicated VA specialists, who have helped our sales reps

market more effectively within the VA Hospital System.”

                    When responding to a question from a Guggenheim Securities analyst

regarding the qui tam action, Mattys minimized the allegations and refused to provide

details:

         The suit was brought by a competitor and the U.S. declined to intervene or
         join the suit. That suit was unsealed on March 20 of this year. We continue to
         believe the allegations are without merit and we’ll vigorously defend
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         ourselves. In fact, we filed a motion to dismiss the suit on April 5 of this year.
         But as for additional details, our policy is not to discuss details of outstanding
         litigation until we get a little further in the process.

In fact, when the analyst pressed for more information on the allegations regarding Tactile’s

“network of in-home trainers,” Mattys responded: “[W]e’re not going to discuss any of the

single items that were brought up in the litigation. We don’t believe those allegations have

any merit.”

                    Though the Company’s VA channel was under fire as a result of the qui tam

action, Defendants continued to hold forth their emphasis on “exceptional” earnings growth

when announcing their 2Q19 financial results on August 5, 2019. Mattys was quoted in the

press release reporting Tactile’s 2Q19 results: ‘“The second quarter of 2019 was marked by

exceptional company performance as evidenced by our 32% revenue growth year-over-year

and improved profitability.”’

                    In addition, Defendants started to pivot from identifying the VA as a source of

revenue growth to focusing on their Medicare channel. The Company’s press release noted

that its Flexitouch sales were driven in part by “growth in the Medicare channel.” Moreover,

maintaining that Flexitouch enjoyed an expansive market, Mattys reiterated that the

Company remained focused on “‘penetrat[ing] the more than $4 billion U.S. lymphedema

and chronic venous insufficiency market.’” Thus, based on the “‘stronger than anticipated

performance’” in 2Q19, the Company once again raised its 2019 revenue guidance to 26.5%

to 28% year-over-year growth.

                    Defendants kept up their misrepresentations in 3Q19, with Mattys noting in the

press release issued on November 4, 2019 that ‘“[o]ur strong execution continued in the third

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quarter with revenue growth of 37% year-over-year”’ and the Company identifying the

Medicare channel as a factor driving its growth in Flexitouch revenues. The Company

further announced that it was raising its revenue guidance again, expecting to achieve 29% to

30% year-over-year revenue growth. Mattys again highlighted the “‘more than $4 billion

U.S. market opportunity’” for Flexitouch.

                    On February 26, 2020, when announcing the Company’s results for the full

year 2019, Defendants reported that their already inflated market opportunity figure had

increased to $5 billion and provided falsely inflated prevalence figures based on the

mischaracterization of a study’s findings. On this point, Mattys underscored during the

earnings conference call that “the 1.3 million patients diagnosed represents a $5 billion plus

addressable U.S. market opportunity, one that we believe remains very underpenetrated with

only 40,000 Flexitouch systems shipped during 2019.”

                    In Tactile’s press release filed the same day on a Form 8-K with the SEC, the

Company again highlighted its revenue growth, stating: “Total revenue increased 32% year-

over-year, to $189.5 million, compared to $143.8 million in 2018” and “Flexitouch revenue

increased 30% year-over-year, to $171.3 million, compared to $131.9 million in 2018.”

Tactile also reported that the growth was “largely driven by . . . growth in the number of

Medicare patients served.” The Company reported that for 2020 it expected revenue growth

of 20% to 22% year over year.

                    On April 7, 2020, the Company issued a press release disclosing its

preliminary estimated revenue results for 1Q20. While it withdrew its full year 2020

financial outlook because of the COVID-19 pandemic, it still anticipated revenue for the
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quarter to show growth of approximately 14% to 17%. Mattys was quoted in the press

release stating that ‘“we expect COVID-19 will continue to impact our near-term financial

results; however, we remain confident in our long-term opportunity related to the $5+ billion

U.S. lymphedema market.”’

                    On May 4, 2020, Tactile announced its results for 1Q20. Defendants still

highlighted Tactile’s revenue growth in its press release filed on Form 8-K with the SEC,

reporting that “[t]otal revenue increased 16% year-over-year, to $43.7 million, compared to

$37.6 million in first quarter 2019” and that “Flexitouch revenue increased 13% year-over-

year, to $38.6 million, compared to $34.1 million in first quarter 2019.” The Company noted

that the revenue increase was driven in part by “growth in the number of Medicare patients

served.” Addressing the COVID-19 pandemic in the press release, Mattys was quoted:

“‘While we are not currently able to predict the extent to which the COVID-19 crisis will

impact our business over the near term, we remain confident in our long-term opportunity

related to the growing $5+ billion U.S. lymphedema market.’”

                    Then, on June 8, 2020, Seeking Alpha issued its report called “Strong Sell on

Tactile Systems: Bloated Stock Needs Compression Therapy.” The report disclosed

additional information regarding the kickback and false claims schemes, including: (1)

quotes from lymphedema industry executives that elaborated on the schemes; (2) additional

detail regarding the mechanics of the contract trainer kickbacks and why they were illegal;

and (3) disclosure and discussion of the RAC audit, its results, implications, and

ramifications. It also debunked Tactile’s addressable market calculations.



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                    First, the report contained statements from lymphedema industry executives

that both shed more light on the mechanics of the schemes and disclosed that Tactile’s

kickback violations were wide-spread and well-known within the industry. While these

statements corroborated the qui tam allegations, they also disclosed additional information

about the Company’s illegal sales practices. For example, lymphedema industry executives

offered additional examples of kickback and false claims violations, including:

                    (1)   Tactile reps encouraging patients and therapists not to take CDT or

basic devices seriously, that way they can get the advanced device later;

                    (2)   Sending pre-filled prescriptions via fax to prescribers; and

                    (3)   Fudging timelines to superficially meet coverage requirements.

                    The statements from the lymphedema industry executives also provided new

details about the mechanics of the contract trainer kickback scheme. For example, according

to an executive cited in the article, the therapists could influence prescriptions:

         “So if you have lymphedema, you go to your GP which is the prescriber a lot
         of times over here. But they’re sending patients out for lymphedema
         treatment, and then whatever treatment protocols the lymphedema therapist or
         nurse draws up, the prescriber just signs off on it.”

                    Other executives gave concrete examples of therapists involved in the scheme

and explained how, even if the therapists were not doing trainings for their own patients,

they were still able influence prescriptions and be rewarded for their referrals:

         And I talked to [a therapist] who said he’s referring out about [mid-teens]
         patients a month for a Tactile device. And then I asked him, ‘How many
         setups are you doing then in turn?’ And he said he’s probably doing about the
         same in setups, and he gets $150 per [setup] . . . It’s meant a lot for his family.



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                    The Seeking Alpha report also disclosed for the first time the results,

implications, and ramifications of the RAC audit. The report discussed that in January 2019,

the RAC auditor began a CMS-approved audit of PCDs and the medical necessity

requirement. It also reported that Tactile had the most audited claims denied for lack of

medical necessity, with 71% of its claims flagged for failure to establish medical necessity.

As the report stated, the high denial rate strongly suggests that the Company was engaged in

billing fraud. The report also disclosed that, since the start of the RAC audit, Tactile’s

accounts receivables for Medicare-related accounts had increased by 50% and that the audit

was increasingly focused on Tactile, exposing it to a greater risk of claw backs. For

example, in the audit’s second round of requested claims, more than 75% of the requested

claims were directed at Tactile.

                    Finally, as explained above in §IV.B.3., the Seeking Alpha report analyzed

Defendants’ statements regarding the addressable market for Flexitouch and demonstrated

that these statements were in fact significantly overstated.

                    With this new information, the stock plunged 12.8%, or $6.95, from the prior

trading day’s high of $54.21 per share to close at $47.26 per share.

         D.         Defendants Omitted “Known Trends or Uncertainties” in
                    Violation of Item 303(a) of Regulation S-K

                    Tactile’s SEC filings, including the Forms 10-Q and Forms 10-K filed during

the Class Period, failed to disclose information required to be disclosed therein under Item

303(a) of Regulation S-K and Securities Act Release No. 33-8350. Item 303 of SEC

Regulation S-K, 17 C.F.R. §299.303 (“Item 303”). Among other things, Item 303 required


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Tactile to disclose “any known trends or uncertainties that have had or that the registrant

reasonably expects will have a material favorable or unfavorable impact on net sales or

revenues or income from continuing operations.”

                    Throughout the Class Period, Tactile was required under Item 303 to disclose

the fact that the Company’s illegal sales practices put at risk a material portion of the

Company’s reported revenue – in particular the revenues obtained from Tactile’s CMS and

VA business segments. Defendants knew that these practices presented a significant

uncertainty given that these practices were illegal, and the revenues and income they

generated were therefore unsustainable. In fact, Defendants represented in their 2018 Form

10-K that “to the extent we are found to not be in compliance” with the AKS or the False

Claims Act, in addition to damages and penalties, “the federal government may also seek

exclusion from participation in all federal health care programs.” As Defendants knew,

the repercussions for noncompliance with the AKS or the False Claims Act were material, as

Defendants “may be required to curtail or restructure our operations. Any penalties,

damages, fines, exclusions, curtailment or restructuring of our operations could adversely

affect our ability to operate our business, our financial condition and our results of

operations.”

                    Specifically, Defendants’ illegal sales practices involving kickbacks to doctors

and trainers, and the false claims made to federal healthcare programs, created a known

uncertainty that the federal healthcare programs would seek Tactile’s exclusion from

participation, thus affecting nearly 30% of Tactile’s revenues. Additionally, since Medicaid

programs and some commercial insurance plans “are frequently influenced by Medicare
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coverage determinations,” Medicare’s decision to exclude Flexitouch coverage could have

even wider consequences. As Defendants recognized in their Forms 10-K: “We believe a

reduction or elimination of coverage or reimbursement of our products by Medicare would

likely cause some commercial third-party payers to implement similar reductions in their

coverage or reimbursement of our products.”

                    In fact, in the Company’s VA channel, allegations of the kickback scheme had

already started to affect the Company’s sales as, according to the Seeking Alpha report

published on June 8, 2020, the VA “clamped down on PCD spending since the lawsuit was

filed.” The report analyzed VA spending obtained through a Freedom of Information Act

(“FOIA”) request, and noted that the E0652 reimbursement, which had seen “significant

acceleration starting in 2017” driven in large part by Tactile, had fallen off since the filing of

the qui tam lawsuit. In fact, Mattys noted during the earnings conference call for year-end

2019 that “[t]here is no doubt the qui tam lawsuit has impacted results again in the fourth

quarter.” And while in 1Q20, the VA revived its E0652 spending for the industry generally,

increasing it by 6%, Tactile’s VA revenue declined 8% for that same period. As Seeking

Alpha concluded, such trends indicate that “Tactile has started losing share” as a result of the

exposure of its illegal selling practices.

                    Thus, Defendants’ engagement in and failure to disclose the illegal sales

practices rendered a failure to comply with Item 303 because Defendants failed to disclose a

known trend or uncertainty that could negatively impact Tactile’s revenues and income.




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         E.         Post-Class Period Developments Confirmed the Class Period’s
                    Fraud

                    On December 10, 2020, Seeking Alpha published a follow-up article reporting

that Tactile appeared to be overstating its revenue from Medicare and the VA. According to

the article, Tactile’s self-reported Medicare revenue was $22 million in 2019, while

Medicare records provided pursuant to a FOIA request showed that Medicare paid only $14

million to Tactile in 2019 – suggesting that Tactile overstated its Medicare revenue by 58%

in 2019. The overstatement continued into 2020. Tactile’s self-reported Medicare revenue

for the first half of 2020 was roughly $11 million, while FOIA records show that Medicare

paid $6 million to Tactile in the first half of 2020. Similarly, Tactile’s self-reported VA

revenue was $31 million in 2019, while VA records provided pursuant to a FOIA request

demonstrate that the VA paid only $25 million to Tactile in 2019.

                    Apart from the revenue overstatements, the report also revealed that: (1)

Tactile’s retroactive claim denial rate in the RAC Audit had increased to 81%; (2) the RAC

Audit was increasingly focused on Tactile; and (3) since the RAC Audit began, Medicare

denials of both E0651 and E0652 devices billed by Tactile had dramatically increased.

Specifically, the article noted that in December 2019, data produced pursuant to a FOIA

request showed the RAC Auditor requested from Tactile an additional 121 claims for audit,

and that 81% of those claims were denied. It also noted that FOIA data demonstrated that

from February to August 2019, only 5.3% of the auditor’s requested claims were Tactile’s

claims, but from September 2019 to December 2020, 11.7% of the auditor’s requested claims

were Tactile’s – suggesting that the auditor was increasingly focused on Tactile. The report


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finally noted that from March 2019 to July 2020, Medicare denial rates for Tactile claims for

E0651 and E0652 reimbursement had increased from 2.1% to 6.3%.

                    Other details of Defendants’ misconduct were later disclosed in the qui tam

action. On January 2, 2021, VFMS filed a motion for partial summary judgment in the qui

tam lawsuit. With the motion, VFMS filed a declaration of Thomas Suehs, who was the

Executive Commissioner for Texas Health and Human Services Commission from 2009 to

2012. In the declaration, Mr. Suehs stated that:

                I would like this Court to be aware that, while serving as Texas HHSC
         Executive Commissioner, if I had known that Tactile’s business agreements
         targeted health care professionals in positions of influence over prescriptions,
         that Tactile remunerated these clinicians, or that these clinicians promoted
         Tactile’s products, my administration and I would not have approved or
         allowed Tactile to be approved as a Medicaid Provider. I also would like this
         Court to know that my administration and I would not have allowed Tactile to
         participate in the Texas Medicaid program if Tactile had admitted that it
         engaged in such conduct.

                    In his expert report, Mr. Suehs also stated:

                   “[Tactile] is engaged in systemic and pervasive misconduct over a period of
                    many years, resulting in artificially increased need/demand for its E0651 and
                    E0652 pneumatic compression devices and excessive claims being submitted
                    to and paid by Government healthcare programs.”;

                   “As a DMEPOS, Tactile is subject to and prohibited from engaging in conduct
                    that violates the False Claims Act or the Anti-Kickback Statute. However,
                    Tactile violates both”;

                   “In sum, Tactile’s illegal activities are the very sort of activities that I sought
                    to detect and prevent while I served as executive commissioner of Health and
                    Human Services”;

                   “The volume, manner, nature and extent of these payments to ‘trainers’
                    evidences a clear intent by Tactile to induce such persons to indirectly
                    arrange for furnishing and for recommending ordering Tactile pneumatic
                    compression devices for which payment is made in whole or in part under a
                    Federal health care program. Tactile’s methodology involves indirect
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                    inducements managed by personnel in Tactile’s headquarters whereby training
                    opportunities are auctioned to 1099 therapists on a ‘first come first serve’
                    basis, often involving substantial mileage reimbursements that on the surface
                    are not commercially reasonable”;

                   “Based on third-party, complex analysis and review of Tactile’s CMS claims
                    for 2019, 75% of all Tactile claims to the government for reimbursement are
                    not medically necessary”; and

                   “Tactile’s business model places significant reliance on the use of hundreds of
                    clinical insiders who, posing as in-home trainers, promote the purchase or
                    ordering of Tactile’s products at the insiders’ clinics . . . .”

V.       DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
         OMISSIONS

                    Throughout the Class Period, Defendants made numerous false and misleading

statements and omissions, including: (1) attributing Tactile’s revenue growth and strong

sales to legitimate business practices, while concealing the illegal kickback and false claims

schemes that were key drivers of the Company’s revenue growth and implicated Tactile’s

VA and CMS sales channels; (2) stating that they complied with the AKS and False Claims

Act; (3) overstating Flexitouch’s TAM; and (4) falsely denying the merits of the qui tam

lawsuit while failing to acknowledge its risks.

         A.         First Quarter 2018

                    On May 7, 2018, Tactile issued its 1Q18 press release, which announced: “Q1

Revenues Increased 35% Year-over-Year, Flexitouch Revenues Up 40%.” Defendant

Mattys was quoted in the press release stating that 1Q18 was “‘marked by 40% growth in

sales of our Flexitouch system.’” He further stated:

         “Our Flexitouch sales growth during the quarter continued to benefit from the
         expansion of our sales team in recent years, our efforts to target high-volume
         accounts and our expansion of in-network coverage with commercial insurers.
         In addition, we saw strong growth in sales to the Veterans Administration
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         hospital system. We also made progress preparing for the commercialization
         of our latest-generation Flexitouch system, the Flexitouch Plus, which we
         launched in early April.”

                    Following the issuance of the press release, Defendants Mattys and Blake

hosted on the same day a conference call with investors and analysts to discuss the

Company’s earnings for the first quarter of 2018. Specifically, Defendants Mattys and Blake

made the following statements:

                 [Mattys:] Our total revenue growth was driven by sales of our
         Flexitouch system, which grew 40% year-over-year to $24.5 million in the
         first quarter. . . .

                Specifically, our Flexitouch sales growth during the first quarter
         benefited from; the expansion of our field sales organization in recent years,
         our efforts to focus our sales team on targeting high-diagnosing clinicians and
         our expanded in-network coverage with commercial insurers.

                These key drivers each contributed to the strong top line growth we
         have reported over the past 2 years, and remain the primary strategic focus
         areas for our organization as we pursue the $4 billion-plus addressable
         market opportunity in the United States lymphedema market.

                                          *     *      *

                In addition to these important long-term drivers of growth, our
         Flexitouch sales growth in the first quarter also benefited from strong sales
         into the Veterans Administration hospital system.

                                          *     *      *

                The success we’re seeing in the VA hospital system is also a result of
         the enhanced sales strategy we implemented throughout the course of last
         year.

                Specifically, we added a number of dedicated VA specialists who help
         our reps to more effectively market and sell within the VA hospital network.

                 [Blake:] Our revenue performance was driven by Flexitouch System
         sales, which increased $7 million or 40% year-over-year to $24.5 million. The
         increase in Flexitouch System sales was due to the expansion of our sales
         force, growth in the Veterans Administration channel, increased physician
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         and patient awareness of the treatment options for lymphedema and increased
         contractual coverage with national and regional insurance payers.

                    Also on May 7, 2018, Defendants issued and filed with the SEC Tactile’s

Quarterly Report on Form 10-Q for the quarter ended March 31, 2018 (“1Q18 Form 10-Q”),

signed by Blake.

                    The 1Q18 Form 10-Q reported the Company’s financial results for the quarter

ended March 31, 2018, including its increased revenues, which Defendants attributed “to an

increase of approximately $7.0 million, or 40% in sales of our Flexitouch system” that

included “growth in the Veterans Administration channel”:

                Revenues increased $7.0 million, or 35%, to $26.8 million in the three
         months ended March 31, 2018, compared to $19.9 million in the three months
         ended March 31, 2017. The growth in revenues was attributable to an increase
         of approximately $7.0 million, or 40%, in sales of our Flexitouch system in the
         three months ended March 31, 2018. The increase in Flexitouch system sales
         was largely driven by expansion of our salesforce, growth in the Veterans
         Administration channel, increased physician and patient awareness of the
         treatment options for lymphedema, and expanded increased contractual
         coverage with national and regional insurance payers.

                    The 1Q18 Form 10-Q included certifications signed by Defendants Mattys and

Blake pursuant to §302 and §906 of the Sarbanes-Oxley Act of 2002, SEC Rules 13a-15(e),

13a-15(f), 15d-15(e), 15d-15(f) and 18 U.S.C. §1350 (the “SOX Certifications”). The SOX

Certifications of both Defendants Mattys and Blake made substantially identical false

certifications stating the following:

         1.    I have reviewed this Quarterly Report on Form 10-Q of Tactile Systems
         Technology, Inc.;

         2.     Based on my knowledge, this report does not contain any untrue
         statement of a material fact or omit to state a material fact necessary to make
         the statements made, in light of the circumstances under which such

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         statements were made, not misleading with respect to the period covered by
         this report;

         3.     Based on my knowledge, the financial statements, and other financial
         information included in this report, fairly present in all material respects the
         financial condition, results of operations and cash flows of the registrant as of,
         and for, the periods presented in this report;

         4.      The registrant’s other certifying officer and I are responsible for
         establishing and maintaining disclosure controls and procedures (as defined in
         Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over
         financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-
         15(f)) for the registrant and have:

                    a.     Designed such disclosure controls and procedures . . . to ensure
                    that material information relating to the registrant, including its
                    consolidated subsidiaries, is made known to us . . .;

                                             *       *      *

         5.     The registrant’s other certifying officer and I have disclosed, based on
         our most recent evaluation of internal control over financial reporting, to the
         registrant’s auditors and the audit committee of the registrant’s board of
         directors (or persons performing the equivalent functions):

                    a.     All significant deficiencies and material weaknesses in the
                    design or operation of internal control over financial reporting . . .; and

                    b.     Any fraud, whether or not material, that involves management
                    or other employees who have a significant role in the registrant’s
                    internal control over financial reporting.

                    The statements in ¶¶133-136 above were materially false and misleading and

omitted material facts because:

                           the “‘strong growth’” in the VA channel was in truth based in part on

illegal and unsustainable sales practices involving kickbacks paid to doctors and contract

trainers;




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                           the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                           the “$4 billion-plus addressable market opportunity” was overstated by

at least three times;

                           in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                           Defendants had failed to design internal controls to address the fraud

alleged herein.

         B.         Second Quarter 2018

                    On August 6, 2018, Tactile issued a press release reporting its 2Q18 results on

a Form 8-K filed with the SEC and signed by Blake. In it, the Company reported:

                 Total revenue for the second quarter of 2018 increased $7.9 million, or
         30%, to $34.1 million, compared to $26.3 million for the quarter ended June
         30, 2017. The increase in revenue was primarily attributable to an increase of
         $7.1 million, or 30%, in Flexitouch system sales. The increase in Flexitouch
         system sales was largely driven by expansion of our salesforce, growth in the
         Veterans Administration channel, increased physician and patient awareness
         of the treatment options for lymphedema, and expanded contractual coverage
         with national and regional insurance payers.

                    The press release also quoted Defendant Mattys emphasizing the Company’s

strategy of targeting the VA system:

         “Flexitouch system sales continue to drive our revenue growth – increasing
         34% over the first six months of 2018 – fueled by the powerful combination of
         a focused selling strategy, targeting high-volume accounts and the Veterans
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         Administration hospital system, strong sales team execution and our
         expansion of in-network coverage with commercial insurers.”

                    The same day, Defendants Mattys and Blake hosted a conference call to

discuss the Company’s earnings for 2Q18. On the call, Mattys made the following

statements:

                We reported impressive sales performance over the first 6 months of
         2018, generating total revenue of $61 million, representing 32% growth year-
         over-year. Sales of our Flexitouch Systems were the primary driver to our
         growth in the period, increasing 34% year-over-year to $55.9 million.

                                           *      *      *

                 In addition to these primary growth drivers, our Flexitouch sales growth
         also benefited from very strong sales into the Veterans Administration
         hospital system. Sales into the VA over the first half of 2018 represented
         approximately 21% of our total revenue compared to approximately 18% in
         the first half of 2017.

                                           *      *      *

                In conclusion, with our enhanced Flexitouch Plus system on the market,
         compelling new clinical and economic evidence in support of our therapy and
         a recently expanded IP portfolio, we are now better positioned to continue our
         leadership of the U.S. lymphedema market and grow our share of this $4
         billion-plus opportunity.

                    Also on August 6, 2018, Defendants issued and filed with the SEC Tactile’s

Quarterly Report on Form 10-Q for the quarter ended June 30, 2018 (“2Q18 Form 10-Q”),

signed by Defendant Blake.

                    The 2Q18 Form 10-Q reiterated that following information regarding Tactile’s

revenues:

         The growth in revenues was attributable to an increase of approximately $7.1
         million, or 30%, in sales of our Flexitouch system in the three months ended
         June 30, 2018 and an increase of approximately $14.2 million, or 34%, in sales
         of our Flexitouch system in the six months ended June 30, 2018. The increase

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         in Flexitouch system sales was largely driven by expansion of our salesforce,
         growth in the Veterans Administration channel, increased physician and
         patient awareness of the treatment options for lymphedema, and expanded
         contractual coverage with national and regional insurance payers.

                    Defendants Mattys and Blake signed the SOX Certifications that were included

in the 2Q18 Form 10-Q and that were substantially identical to the SOX Certifications

alleged in ¶137.

                    The statements in ¶¶139-143 above were materially false and misleading and

omitted material facts because:

                          the “very strong sales into the Veterans Administration hospital system”

and the “growth” in the VA channel, highlighted as a factor “driv[ing]” the “increase in

Flexitouch system sales” was in truth based in part on illegal and unsustainable sales

practices involving kickbacks paid to doctors and contract trainers;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                          the “$4 billion plus opportunity” for the Flexitouch market was

overstated by at least three times;

                          in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and




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                          Defendants had failed to design internal controls to address the fraud

alleged herein.

         C.         Third Quarter 2018

                    On November 5, 2018, Tactile issued its press release reporting its 3Q18

financial results on a Form 8-K filed with the SEC and signed by Defendant Moen. The

Company reported:

                Total revenue for the third quarter of 2018 increased $8.0 million, or
         28%, to $36.3 million, compared to $28.3 million for the quarter ended
         September 30, 2017. The increase in revenue was primarily attributable to an
         increase of $7.1 million, or 27%, in Flexitouch system sales. The increase in
         Flexitouch system sales was largely driven by expansion of our salesforce,
         growth in the Veterans Administration channel, increased physician and
         patient awareness of the treatment options for lymphedema, and expanded
         contractual coverage with national and regional insurance payers.

                    The press release quoted Defendant Mattys explaining the Flexitouch system

as a driver for revenue growth:

         “Flexitouch system sales continue to drive our revenue growth – increasing
         31% over the first nine months of 2018 – fueled by strong sales team
         execution and a positive overall response to the new Flexitouch Plus system,
         which we launched earlier this year. . . .”

                . . . “We remain confident in our ability to continue driving strong
         growth as we maximize the powerful combination of an expanding sales force,
         a focused selling strategy targeting high-volume accounts and the Veterans
         Administration healthcare system, and our expansion of in-network coverage
         with commercial insurers.”

                    Defendants held an earnings call with investors the same day to discuss the

financial results for 3Q18. During the call, Mattys discussed the “primary growth drivers

[for] Flexitouch sales,” and highlighted sales into the VA:

                We achieved an impressive sales performance over the first 9 months of
         2018, generating revenue of $97.3 million representing 31% growth year-over-
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         year. Sales of our Flexitouch Systems continue to be the primary driver of our
         growth, increasing 31% year-over-year to $89.2 million.

                                           *      *      *

                In addition to these primary growth drivers, our Flexitouch sales growth
         continued to benefit from very strong sales into the Veterans Administration
         health care system. Sales into the VA over the first 9 months of 2018
         increased 44% year-over-year, representing approximately 20% of our total
         revenue compared to approximately 19% in the first 9 months of 2017.

                                           *      *      *

                Our Flexitouch Plus System remains our primary driver of growth, and
         we’re confident in our ability to continue driving strong growth as we
         maximize the powerful combination of an expanding sales force, a focused
         selling strategy targeting high-volume accounts and the Veterans
         Administration channel and our expansion of in-network coverage with
         commercial insurers.

                    Mattys also made false statements regarding Flexitouch’s TAM, stating: “We

believe we are incredibly well positioned to continue our leadership of the U.S. lymphedema

market and grow our share of the $4-plus billion market opportunity that it represents.”

                    Also on November 5, 2018, Defendants issued and filed with the SEC Tactile’s

Quarterly Report on Form 10-Q for the period ended September 30, 2018 (“3Q18 Form 10-

Q”), signed by Defendant Moen.

                    The 3Q18 Form 10-Q reiterated that following information regarding Tactile’s

revenues:

                Revenues increased $8.0 million, or 28%, to $36.3 million in the three
         months ended September 30, 2018, compared to $28.3 million in the three
         months ended September 30, 2017. Revenues increased $22.9 million, or
         31%, to $97.3 million in the nine months ended September 30, 2018,
         compared to $74.4 million in the nine months ended September 30, 2017. The
         growth in revenues was attributable to an increase of approximately $7.1
         million, or 27%, in sales of our Flexitouch system in the three months ended
         September 30, 2018 and an increase of approximately $21.3 million, or 31%,
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         in sales of our Flexitouch system in the nine months ended September 30,
         2018. The increase in Flexitouch system sales was largely driven by
         expansion of our salesforce, growth in the Veterans Administration channel,
         increased physician and patient awareness of the treatment options for
         lymphedema, and expanded contractual coverage with national and regional
         insurance payers.

                    Defendants Mattys and Moen signed the SOX Certifications that were included

in the 3Q18 Form 10-Q and that were substantially identical to the SOX Certifications

alleged in ¶137.

                    The statements in ¶¶146-151 above were materially false and misleading and

omitted material facts because:

                          the “growth” in the VA channel that was highlighted as one factor

“driv[ing]” the “increase in Flexitouch system sales” was in truth based in part on illegal and

unsustainable sales practices involving kickbacks paid to doctors and contract trainers;

                          the “focused selling strategy” in the VA channel concealed that

Defendants used illegal sales practices including kickbacks to doctors and contract trainers to

push Flexitouch sales;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                          the “$4 billion-plus addressable market opportunity” was overstated by

at least three times;

                          in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its


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business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                           Defendants had failed to design internal controls to address the fraud

alleged herein.

         D.         Fourth Quarter 2018

                    On January 7, 2019, Tactile issued a press release on a Form 8-K filed with the

SEC. Defendant Moen signed the Form 8-K. The press release reported on Tactile’s

preliminary full year and 4Q18 results and quoted Mattys stating:

                “We are excited to close the year with another quarter of strong
         execution, with revenue growth in excess of 30%, driven by sales of our
         Flexitouch systems . . . . Our Flexitouch sales this quarter were driven by
         several of our primary growth drivers, including the expansion of and
         continuing execution from our field sales team, and higher than expected
         volume from a direct contract with a large commercial payer initiated in the
         third quarter. 2018 was an exceptional year for Tactile Medical, with record
         sales growth driven by the successful launch of our Flexitouch Plus system in
         the second quarter, our targeted selling strategy focused on our most
         productive accounts and strong sales growth in the Veterans Administration
         channel.”

                . . . “Looking ahead to 2019, we remain confident in our ability to
         deliver 20% plus revenue growth and improving profitability as we continue to
         expand our share of the $4+ billion U.S. market in lymphedema and chronic
         venous insufficiency.”

                    On February 28, 2019, Tactile issued a press release on a Form 8-K filed with

the SEC. Defendant Moen signed the Form 8-K. The press release reported on Tactile’s

4Q18 and full year 2018 financial results. The Company reported:

                Revenue for the fourth quarter of 2018 increased $11.6 million, or 33%,
         to $46.4 million, compared to $34.9 million for the quarter ended December
         31, 2017. The increase in revenue was primarily attributable to an increase of
         $10.3 million, or 32%, in sales of the Flexitouch system. The increase in
         Flexitouch system sales was driven by continued expansion of our salesforce,
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         the successful roll-out of our new Flexitouch Plus system, growth in the
         Veterans Administration channel, increased physician and patient awareness
         of the treatment options for lymphedema, and expanded contractual coverage
         with national and regional insurance payers.

                    Defendant Mattys was quoted in the press release:

         “The top-line growth was driven by the successful launch of our Flexitouch
         Plus system, continuation of our targeted sales strategy focused on high-
         volume accounts and strong growth in the Veterans Administration channel.
         We also made further progress toward expanding our portfolio of clinical
         evidence and increasing awareness among clinicians, payers and patients of
         the benefits of our clinically proven, cost-effective, at-home treatments for
         chronic conditions.”

                . . . “Looking ahead to 2019, we remain confident in our ability to
         deliver 20%+ revenue growth and improved profitability, as we continue to
         expand our share of the $4+ billion U.S. market in lymphedema and chronic
         venous insufficiency.”

                    Also on February 28, 2019, Tactile held an earnings call for investors to report

its 4Q18 and FY18 results. Mattys spoke regarding Tactile’s revenue growth and the

contributions by the VA sales channel in driving sales:

               Simply stated, 2018 was a phenomenal year for Tactile Medical. We
         achieved revenue of $143.8 million for the full year, representing 32% growth
         year-over-year, exceeding our 2018 guidance range. Our 2018 revenue
         growth was driven by sales of our Flexitouch systems, which increased 31%
         year-over-year to $131.9 million.

                                            *       *      *

         [W]e also achieved exceptionally strong sales in the VA health care system
         throughout 2018. Sales into the VA in 2018 increased 42% year-over-year
         and represented approximately 20% of our total revenue compared to
         approximately 18% in 2017.

                Our success in the VA throughout 2018 was primarily due to the
         continued effectiveness of our team of dedicated VA specialists, whose
         expertise helps our sales team navigate the VA system and optimize their
         selling efforts there.

                    Defendant Moen likewise reported on Tactile’ revenue performance for 4Q18:
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                The increase in Flexitouch System sales was largely driven by
         expansion of our sales force, the successful rollout of our new Flexitouch Plus
         system, growth in the Veterans Administration channel, increased physician
         and patient awareness of the treatment options for lymphedema and expanded
         contractual coverage with national and regional insurance payers.

                    Mattys further reported on Tactile’s market opportunity for the Flexitouch

system:

                With respect to our account targeting strategy, we performed another
         data analysis of medical claims in December of 2018. The data showed there
         were 1.1 million patients diagnosed with lymphedema in the 12-month
         period ending June 30, 2018, compared to 700,000 patients in the 12-month
         period ending December 31 of 2013, the first time we performed this analysis.
         This represents a compounded annual growth rate of 11% over the last 4.5
         years.

                                          *      *      *

         We sold 35,000 units last year – 32,000, sorry, units last year and that’s on
         1.1 million patients diagnosed. So this is a vastly underpenetrated market that
         we’re in now, and we want to try to focus our efforts there.

                                          *      *      *

                In conclusion, for all these reasons, Tactile Medical will continue to
         lead the U.S. lymphedema market and grow our share of the $4 billion plus
         opportunity that it represents in 2019 and in the years to come.

                    On February 28, 2019, Tactile also filed with the SEC its Annual Report on

Form 10-K for the year ended December 31, 2018 (“2018 Form 10-K”). The 2018 Form 10-

K was signed by Mattys, Moen, Burke, Nigon, Roche, Peter Soderberg, Raymond

Huggenberger and Cheryl Pegus.              Defendants Mattys and Moen signed the SOX

Certifications that were included in the 2018 Form 10-K and that were substantially identical

to the SOX Certifications alleged in ¶137.




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                    Tactile’s 2018 Form 10-K made the following statement regarding sales to the

VA and Medicare:

                We sell our products either directly to patients or to the Veterans
         Administration on behalf of patients, who are referred to us by physicians,
         therapists or nurses. We bill payers, such as private insurers, Medicare, or
         Medicaid, on behalf of our patients and bill patients directly for their cost-
         sharing amounts, including any portion of an unsatisfied deductible and any
         copayments or co-insurance. We bill the Veterans Administration directly for
         the purchase of our product on behalf of the patient. Approximately 20% of
         our revenues in 2018 and 18% of our revenues in 2017 came from the
         Veterans Administration. Approximately 9% of our revenues in 2018 and
         8% of our revenues in 2017 came from Medicare patients.

                    Tactile’s 2018 Form 10-K made the following statement regarding its

Medicare segment:

                 Because Medicare criteria is extensive, we have a team dedicated to
         educating prescribers to help them understand how Medicare policy affects
         their patients and the medical record documentation needed to meet both
         [National Coverage Determination] and [Local Coverage Determination]
         requirements. We maintain open communication with physician key opinion
         leaders and with Medicare contractors to provide data as it becomes available
         that could potentially influence coverage decisions. We also continue to
         closely monitor our Medicare business to identify trends that could have a
         negative impact on certain Medicare patients’ access to our products, which
         in turn could have an adverse effect on our business and results of operations.

                    Tactile’s 2018 Form 10-K also cited its claims data analysis and represented

that the Company’s TAM exceeded $4.2 billion:

                We estimate that more than five million people in the United States are
         living with lymphedema. Based on an analysis of claims data commissioned
         by us, we estimated that approximately 1.1 million patients were diagnosed
         with lymphedema during the 12 months ended December 31, 2018. Based
         on a similar analysis of claims data commissioned by us, we estimated that
         there were approximately 700,000 patients diagnosed with lymphedema
         during the 12 months ended June 30, 2014. This represents a 10.6% average
         annual increase in the number of patients diagnosed with lymphedema over
         the period from June 30, 2014 to December 31, 2018. We estimate that the
         addressable market opportunity for our Flexitouch system exceeds $4.2
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         billion in the United States, which is based on the number of patients
         diagnosed with lymphedema and our average selling price per device.

                    The 2018 Form 10-K made the following statement regarding the federal AKS

and Self-Referral Laws:

                 The Federal Anti-Kickback Statute applies to certain arrangements with
         healthcare providers, product end users and other parties, including marketing
         arrangements and discounts and other financial incentives offered to our
         clinicians in connection with the sales of our products. Although we believe
         that we have structured such arrangements to be in compliance with the
         Anti-Kickback Statute and other applicable laws, regulatory authorities may
         determine that our marketing, pricing, or other activities violate the Federal
         Anti-Kickback Statute or other applicable laws. Noncompliance with the
         Federal Anti-Kickback Statute can result in civil, administrative and criminal
         penalties, restrictions on our ability to operate in certain jurisdictions, and
         exclusion from participation in Medicare, Medicaid or other federal healthcare
         programs. In addition, to the extent we are found to not be in compliance, we
         may be required to curtail or restructure our operations. Any penalties,
         damages, fines, exclusions, curtailment or restructuring of our operations
         could adversely affect our ability to operate our business, our financial
         condition and our results of operations.

                The Ethics in Patient Referrals Act, commonly known as the “Stark
         Law,” prohibits a physician from making referrals for certain “designated
         health services” payable by Medicare to an entity, including a company that
         furnishes durable medical equipment, in which the physician or an immediate
         family member of such physician has an ownership or investment interest or
         with which the physician has entered into a compensation arrangement unless
         an exception applies. Violation of the Stark Law could result in denial of
         payment, disgorgement of reimbursements received under a noncompliant
         arrangement, civil penalties and exclusion from Medicare or other
         governmental programs. Although we believe that we have structured our
         provider arrangements to comply with current Stark Law requirements,
         these requirements are highly technical and there can be no guarantee that
         regulatory authorities will not determine or assert that our arrangements do
         not meet applicable Stark Law exceptions.

                Additionally, because some of these laws continue to evolve, we lack
         definitive guidance as to the application of certain key aspects of these laws
         as they relate to our arrangements with providers with respect to patient
         training. We cannot predict the final form that these regulations will take or
         the effect that the final regulations will have on us. As a result, our provider
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         arrangements may ultimately be found to be non-compliant with applicable
         federal law.

                    The 2018 Form 10-K made the following statement regarding the False Claims

Act:

                Although we believe that we are in compliance with the Federal False
         Claims Act as well as the Civil Monetary Penalties laws, if we are found in
         violation of the same, penalties include fines ranging from $11,181 to $22,363
         for each false claim violation of the Federal False Claims Act and varying
         amounts based on the type of violation of the Civil Monetary Penalties Law),
         plus up to three times the amount of damages that the federal government
         sustained because of the act of that person.

                    The statements in ¶¶154-159, 161-165 above were materially false and

misleading and omitted material facts because:

                          the “exceptionally strong sales in the VA health care system” and the

“strong sales growth in the Veterans Administration channel,” highlighted as a factor

“driv[ing]” Flexitouch’s “records sales growth” was in truth based in part on illegal and

unsustainable sales practices involving kickbacks paid to doctors and contract trainers;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                          the “$4 billion plus opportunity” was overstated by at least three times;

                          the “close[] monitor[ing]” of the Medicare business “to identify trends

that could have a negative impact on certain Medicare patients’ access to our products”

omitted the Company’s engagement in kickback schemes and submissions of false claims

that risked a negative impact on the Medicare business;


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                           Defendants’ stated belief in their compliance with the AKS, the Stark

Laws, and the False Claims Act lacked any basis given the Company’s ongoing kickback

schemes and submissions of false claims;

                           Tactile’s “arrangements with providers with respect to patient training”

violated the AKS, enacted in 1972, and the Stark Law, enacted in 1989, neither of which was

“continu[ing] to evolve”;

                           in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                           Defendants had failed to design internal controls to address the fraud

alleged herein.

         E.         First Quarter 2019

                    On May 6, 2019, Tactile issued its press release reporting its 1Q19 financial

results on a Form 8-K filed with the SEC and signed by Moen. The Company reported:

                Revenue for the first quarter of 2019 increased $10.8 million, or 40%,
         to $37.6 million, compared to $26.8 million for the quarter ended March 31,
         2018. The increase in revenue was attributable to an increase of $9.6 million,
         or 39%, in sales and rentals of the Flexitouch system and an increase of
         approximately $1.2 million, or 51%, in sales and rentals of our
         Entre/Actitouch systems in the three months ended March 31, 2019. The
         increase in Flexitouch system sales and rentals was largely driven by
         expansion of our salesforce, growth in the Medicare channel, increased
         physician and patient awareness of the treatment options for lymphedema, and
         expanded contractual coverage with national and regional insurance payers.

                    Mattys was quoted in the 1Q19 press release praising Tactile’s “‘exciting start

to 2019’” and penetration into the lymphedema market:
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                 “Our first quarter performance reflects an exciting start to 2019, driven
         by strong adoption of our Flexitouch Plus system . . . . First quarter revenue
         results benefitted from the investments we have made in our sales team, the
         continuation of our targeted sales strategy focused on high-volume accounts
         and stronger than expected sales volumes due to a new contract with a large
         commercial payer.”

                                             *      *      *

         “We remain confident in our ability to deliver strong revenue growth and
         improved profitability, as we continue to expand our penetration of the $4+
         billion U.S. lymphedema and chronic venous insufficiency markets.”

                    During the 1Q19 earnings conference call held the same day for investors,

Mattys made the following statement regarding the VA channel: “We also continue to see

strong performance in the VA during the first quarter, in part due to the efforts of our

dedicated VA specialists, who have helped our sales reps market more effectively within the

VA Hospital System.”

                    Mattys also received a question from an analyst at William Blair & Company

LLC (“William Blair”) regarding the VA channel’s sales performance:

                [William Blair Analyst:] The first one for me is maybe a little bit of a
         focus on the VA, which I think was roughly about 20% of total sales this
         quarter. Still showing some nice growth, but down maybe from 23% in the
         year-ago period. Can you give us a little bit of color, how much of that is
         because of the change in rev[enue] rec[ognition] as that maybe changed the
         mix? . . .

         [Mattys:] . . . So we have a bit of a tough comp here in the VA channel
         specifically, last year being so successful. We did see higher than our growth
         rate for the channel in shipments and did see some ASP drop by signing the
         new Federal Supply Schedule contract that we did in the third quarter of last
         year. So volume is still ticking along pretty nicely.

                    Mattys also reiterated Tactile’s ability to access “the more than $4 billion U.S.

lymphedema market”:


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         Based on our latest analysis of claims data, we also estimated 11% annualized
         compounded growth in the number of patients diagnosed with lymphedema
         over the last 5 years. And more broadly, we continue to see mounting
         qualitative evidence of the increasing awareness of lymphedema and its
         treatment. In 2019, we look forward to demonstrating our commitment to
         leadership in the more than $4 billion U.S. lymphedema market as we
         continue to expand our share and deliver high-quality products and service to
         our patient and clinician customers.

                    Regarding the qui tam action, Mattys had the following exchange with an

analyst when the earnings call was opened up to analyst questions:

               [Guggenheim Analyst:] Okay. And then, Jerry, can you provide any
         update on the legal action that was initiated back in the first quarter, the qui
         tam suits from one of your competitors, anything you can say there about
         where that stands?

                 [Mattys:] Sure, Chris. I’ll just reiterate what we’ve said previously and
         then I’ll let you know where we are today. As we discussed in the 10-K, we
         were served with a sealed complaint in the U.S. District Court of Southern
         District of Texas on February 13. The suit was brought by a competitor and
         the U.S. declined to intervene or join the suit. That suit was unsealed on
         March 20 of this year. We continue to believe the allegations are without
         merit and we’ll vigorously defend ourselves. In fact, we filed a motion to
         dismiss the suit on April 5 of this year. But as for additional details, our
         policy is not to discuss details of outstanding litigation until we get a little
         further in the process.

                [Guggenheim Analyst:] Understood. There was 1 particular aspect of
         that complaint, which related to your network of in-home trainers. Maybe it’s
         worth just spending a minute on that particular operating structure, your
         confidence in its legality and why it’s important to the business?

                [Mattys:] Yes, Chris, we’re not going to discuss any of the single items
         that were brought up in the litigation. We don’t believe those allegations have
         any merit. And we’re certainly looking forward to the opportunity to present
         that case.

                    Also on May 6, 2019, Defendants issued and filed with the SEC Tactile’s Form

10-Q for the period ended March 31, 2019 (“1Q19 Form 10-Q”), signed by Defendant Moen.

The Company reported the following regarding its revenues for 1Q19:
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                Revenues increased $10.8 million, or 40%, to $37.6 million in the three
         months ended March 31, 2019, compared to $26.8 million in the three months
         ended March 31, 2018. The growth in revenues was attributable to an increase
         of approximately $9.6 million, or 39%, in sales and rentals of our Flexitouch
         system and an increase of approximately $1.2 million, or 51%, in sales and
         rentals of our Entre/Actitouch systems in the three months ended March 31,
         2019. The increase in Flexitouch system sales and rentals was largely driven
         by expansion of our salesforce, growth in the Medicare channel, increased
         physician and patient awareness of the treatment options for lymphedema, and
         expanded contractual coverage with national and regional insurance payers.

                    The 1Q19 Form 10-Q was signed by Defendant Moen on May 6, 2019.

Defendants Mattys and Moen signed the SOX Certifications that were included in the 1Q19

Form 10-Q and that were substantially identical to the SOX Certifications alleged in ¶137.

                    The statements in ¶¶167-173 above were materially false and misleading and

omitted material facts because:

                          the “growth” in the Medicare channel that was highlighted as one factor

“driv[ing]” the “increase in Flexitouch system sales” was in truth based in part on illegal and

unsustainable sales practices involving kickbacks paid to doctors and contract trainers;

                          the “tough comp here in the VA channel” concealed the illegal sales

practices conducted in the VA channel and the fact that as a result of the qui tam action

alleging such illegal sales practices, the VA had slowed its spending on Flexitouch;

                          the Company’s reported revenues from CMS and the VA were

overstated, particularly in light of the RAC audit process imposing greater scrutiny on

submitted claims;

                          discarding the qui tam action’s allegation as “without merit” concealed

the Company’s ongoing illegal sales practices;


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                           the Company’s reported revenues were in part the product of illegal

sales practices, including the use of kickbacks to push Flexitouch sales into the VA and CMS

channels and the submission of false claims to CMS;

                           the “more than $4 billion U.S. lymphedema market” was overstated by

at least three times;

                           in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                           Defendants had failed to design internal controls to address the fraud

alleged herein.

         F.         Second Quarter 2019

                    On August 5, 2019, Tactile issued its press release reporting its 1Q19 financial

results on a Form 8-K filed with the SEC and signed by Moen. The Company stated:

                Revenue for the second quarter of 2019 increased $11.1 million, or
         32%, to $45.2 million, compared to $34.1 million for the quarter ended June
         30, 2018. The increase in revenue was attributable to an increase of $9.6
         million, or 31%, in sales and rentals of the Flexitouch system and an increase
         of $1.5 million, or 53%, in sales and rentals of our Entre systems in the quarter
         ended June 30, 2019. The increase in Flexitouch system sales and rentals was
         largely driven by expansion of our salesforce, increased physician and patient
         awareness of the treatment options for lymphedema, expanded contractual
         coverage with national and regional insurance payers and growth in the
         Medicare channel.

                    On the same day, the Company hosted an earnings conference call for

investors. Mattys stated:


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                We achieved exceptional company performance during the first 6
         months of 2019 with total revenue of $82.8 million, representing 36% growth
         year-over-year. Flexitouch Plus System sales and rentals were the primary
         driver of our revenue growth in the period, increasing 34% year-over-year to
         $75.1 million.

                                           *      *      *

               We also experienced strong sales to patients with Medicare and VA
         coverage during the first half of the year.

                Our performance serving the Medicare population has been particularly
         strong this year, representing 11% of our total revenues in the first 6 months
         compared to 8% in the same period last year. We believe that our decision in
         2018 to transition Entré and ACTitouch order processing from our field team
         to our internal team of specialists has been an important contributor to this
         strong performance.

                In the Veterans Administration channel, our sales performance
         continued to benefit from the new Federal Supply Schedule contract that we
         were awarded for our Flexitouch Plus System last September, along with the
         continued efforts of our dedicated VA specialists.

                    Moen likewise reported on the Company’s revenue:

         Total revenue for the second quarter increased 32% to $45.2 million compared
         to $34.1 million for the quarter ended June 30, 2018. Our total revenue
         performance in the quarter was driven by sales and rentals of our Flexitouch
         systems, which increased $9.6 million or 31% year-over-year to $41 million.
         The increase in our Flexitouch revenue was largely driven by the expansion of
         our sales force, increasing physician and patient awareness of the treatment
         options for lymphedema, expanded contractual coverage with insurance
         payers, and growth in the Medicare channel.

                    Mattys represented that he saw “a bright future” was in store for the Company

because certain “macro dynamics,” including “the more than $4 billion addressable U.S.

market opportunity that remains in front of us”:

                We continue to see a bright future in store for our company as we look
         at a number of important macro dynamics, including: the growing awareness
         of lymphedema in the market at both the clinician and patient level; the more
         than $4 billion addressable U.S. market opportunity that remains in front of

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         us; and our unique position in the market, with an established direct-to-patient-
         and-provider model, proven reimbursement and payer relations expertise and
         innovative products, supported by extensive clinical and economic evidence.

                    Mattys also received questioning from an analyst from Piper Jaffray

Companies, who was “surprised” by the difference in growth drivers. The analyst stated: “It

used to be very VA-heavier just given the growth rate there. But this year, it seems to be

Medicare, less VA and more commercial. So maybe comment on that.” Mattys responded

in part:

         In the first half of the year, Medicare made up 11% of sales versus 8% last
         year. We think the single biggest reason for that shift has been the move
         inside to lift the burden of paperwork and order processing from our field team
         so that they may focus on Flexitouch sales.

                                          *      *      *

                 We’ve made our biggest addition in VA reps last year, in 2018. So for
         the first half of the year, the VA made up 19% of total revenue versus 20%
         over the same period last year. We’re very happy with the VA performance.
         Overall, it was up 22% year-over-year in that particular segment.

                    Also on August 5, 2019, Defendants issued and filed with the SEC Tactile’s

Form 10-Q for the period ended June 30, 2019 (“2Q19 Form 10-Q”), signed by Defendant

Moen. The Company reported the following regarding its revenues for 2Q19:

                 Revenues increased $11.1 million, or 32%, to $45.2 million in the three
         months ended June 30, 2019, compared to $34.1 million in the three months
         ended June 30, 2018. Revenues increased $21.8 million, or 36%, to $82.8
         million in the six months ended June 30, 2019, compared to $61.0 million in
         the six months ended June 30, 2018. The growth in revenues was attributable
         to an increase of approximately $9.6 million, or 31%, in sales and rentals of
         our Flexitouch system in the three months ended June 30, 2019, and an
         increase of approximately $19.2 million, or 34%, in the six months ended June
         30, 2019. The increase in Flexitouch system sales and rentals was largely
         driven by expansion of our salesforce, increased physician and patient
         awareness of the treatment options for lymphedema, expanded contractual

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         coverage with national and regional insurance payers and growth in the
         Medicare channel.

                    Defendants Mattys and Moen signed the SOX Certifications that were included

in the 2Q19 Form 10-Q and that were substantially identical to the SOX Certifications

alleged in ¶137.

                    The statements in ¶¶176-181 above were materially false and misleading and

omitted material facts because:

                          the “strong sales to patients with Medicare and VA coverage,” the 22%

year-over-year growth in the VA channel, and the “growth” in the Medicare channel that

were highlighted as factors “driv[ing]” the “increase in Flexitouch system sales” were in

truth based in part on illegal and unsustainable sales practices involving kickbacks paid to

doctors and contract trainers;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                          the Company’s reported revenues from CMS and the VA were

overstated, particularly in light of the RAC audit process imposing greater scrutiny on

submitted claims;

                          the “more than $4 billion addressable U.S. market opportunity” was

overstated by at least three times;

                          in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its


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business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                          Defendants had failed to design internal controls to address the fraud

alleged herein.

         G.         Third Quarter 2019

                    On November 4, 2019, Tactile filed with the SEC a Form 8-K signed by Moen

that attached a press release announcing the Company’s 3Q19 financial results for the period

ended September 30, 2019. The Company reported:

                Revenue for the third quarter of 2019 increased $13.3 million, or 37%,
         to $49.6 million, compared to $36.3 million for the quarter ended September
         30, 2018. The increase in revenue was attributable to an increase of $11.4
         million, or 34%, in sales and rentals of the Flexitouch system and an increase
         of $1.9 million, or 64%, in sales and rentals of the Entre system in the quarter
         ended September 30, 2019. This revenue increase was largely driven by
         expansion of our salesforce, increased physician and patient awareness of the
         treatment options for lymphedema, broad in-network coverage with national
         and regional insurance payers and growth in the Medicare channel.

                    On the same day, the Company hosted an earnings conference call for

investors. Mattys emphasized the Company’s Flexitouch market:

                As we exit the year, we will continue to reinforce our leadership in the
         more than $4 billion U.S. market opportunity for lymphedema and chronic
         venous insufficiency by expanding and enhancing the productivity of our field
         sales organization and continuing to capitalize on the strong market response
         to our Flexitouch Plus system, our high diagnosing account targeting strategy
         and our broad in-network coverage with commercial payers.

                    Moen reported the following on the Company’s revenues:

         The increase in Flexitouch revenue was largely driven by the expansion of our
         sales force, increasing physician and patient awareness of the treatment
         options for lymphedema, broad in-network coverage with insurance payers
         and growth in the Medicare channel.

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                    Also on November 4, 2019, Defendants issued and filed with the SEC Tactile’s

Form 10-Q for the period ended September 30, 2019 (“3Q19 Form 10-Q”), signed by

Defendant Moen. The Company reported the following regarding its revenues for 3Q19:

                Revenue increased $13.3 million, or 37%, to $49.6 million in the three
         months ended September 30, 2019, compared to $36.3 million in the three
         months ended September 30, 2018. Revenue increased $35.1 million, or 36%,
         to $132.4 million in the nine months ended September 30, 2019, compared to
         $97.3 million in the nine months ended September 30, 2018. The growth in
         revenue was primarily attributable to an increase of approximately $11.4
         million, or 34%, in sales and rentals of our Flexitouch system in the three
         months ended September 30, 2019, and an increase of approximately $30.6
         million, or 34%, in the nine months ended September 30, 2019. The increase
         in Flexitouch system sales and rentals was largely driven by expansion of our
         salesforce, increased physician and patient awareness of the treatment options
         for lymphedema, the broad in-network coverage with national and regional
         insurance payers and growth in the Medicare channel.

                    Defendants Mattys and Moen signed the SOX Certifications that were included

in the 3Q19 Form 10-Q and that were substantially identical to the SOX Certifications

alleged in ¶137.

                    The statements in ¶¶184-187 above were materially false and misleading and

omitted material facts because:

                          the “growth” in the Medicare channel that was highlighted as one factor

“driv[ing]” the “increase in Flexitouch system sales” was based in part on illegal and

unsustainable sales practices involving kickbacks paid to doctors and contract trainers;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;



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                          the Company’s reported revenues from CMS and the VA were

overstated, particularly in light of the RAC audit process imposing greater scrutiny on

submitted claims;

                          the “$4 billion U.S. market opportunity” for Flexitouch was overstated

by at least three times;

                          in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                          Defendants had failed to design internal controls to address the fraud

alleged herein.

         H.         Fourth Quarter 2019

                    On January 13, 2020, Tactile filed with the SEC a Form 8-K signed by Moen

that attached a press release announcing the Company’s preliminary full year and 4Q19

revenue results, and announced Mattys’s intention to retire in 2020. Quoted in the press

release, Mattys reported on the Company’s 2019 performance and on the lymphedema

market:

         “Our solid execution during the fourth quarter enabled us to bring 2019 to a
         strong close, with improved profitability and expected full year 2019 revenue
         growth of approximately 31% driven by investments in the field sales team,
         solid market adoption of the Flexitouch Plus system, a targeting strategy
         focused on the most productive accounts in the lymphedema market and the
         broad in-network coverage we have obtained with commercial payers. As we
         enter 2020, we remain focused on expanding our share of the $4+ billion
         U.S. market in lymphedema and chronic venous insufficiency and believe


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         we are poised to deliver another year of 20% plus revenue growth and
         improved profitability.”

                    On February 26, 2020, Tactile filed with the SEC a Form 8-K signed by Moen

that attached a press release reporting the Company’s 4Q19 and full year 2019 financial

results. Specifically, the Company reported:

                 Revenue in the fourth quarter of 2019 increased $10.6 million, or 23%,
         to $57.1 million, compared to $46.4 million in the fourth quarter of 2018. The
         increase in revenue was attributable to an increase of $8.8 million, or 21%, in
         sales and rentals of the Flexitouch system and an increase of $1.8 million, or
         48%, in sales and rentals of the Entre system in the quarter ended December
         31, 2019. This revenue increase was largely driven by expansion of our sales
         force, increased physician and patient awareness of the treatment options for
         lymphedema, broad in-network coverage with national and regional insurance
         payers and growth in the number of Medicare patients served.

                    The Company also announced the results of a new medical study, based on

which the Company reported a “four-fold” increase to the prevalence of lymphedema:

                On February 13, 2020, the Company announced the publication of a
         new clinical study demonstrating the prevalence of chronic venous
         insufficiency-related lymphedema (“CVI related lymphedema,” also known as
         “Phlebolymphedema”).        Researchers concluded that chronic venous
         insufficiency, not cancer-related therapy, may be the most common cause of
         lower extremity lymphedema in the United States. The new study suggests
         that the prevalence of lymphedema due to CVI is approximately 16 million
         individuals in the United States. This, in addition to the estimated five
         million individuals living in the U.S. with cancer-related and primary
         lymphedema, increases the total prevalence estimates four-fold to over 20
         million individuals.

                    The press release quoted Mattys reporting on the Company’s “‘impressive

performance’” and the growing lymphedema market:

               “We are pleased to report another quarter of impressive performance,
         which resulted in revenue growth of 23% year-over-year,” said Gerald R.
         Mattys, Chief Executive Officer of Tactile Medical. “Our solid execution
         during the fourth quarter enabled us to bring 2019 to a strong close, with
         improved profitability and full year revenue growth of 32%. Our success was
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         driven by investments in expanding our field sales team, solid market adoption
         of the Flexitouch Plus system, a targeting strategy focused on the most
         productive accounts in the lymphedema market and the broad in-network
         coverage we have obtained with commercial payers. As we enter 2020, we
         remain focused on increasing our share of the growing $5+ billion
         addressable U.S. market opportunity in lymphedema and chronic venous
         insufficiency and believe we are poised to deliver 20% or more top line
         growth and another year of improved profitability.”

                    On the same day, the Company hosted an earnings conference call for

investors. Mattys reiterated the study results that reported an increase in the prevalence of

lymphedema:

         This study, titled the clinical characteristics of lower extremity lymphedema in
         440 patients, was a 3-year single-center retrospective study that documented
         the prevalence and manifestations of the 4 most commonly encountered causes
         of lower extremity lymphedema patients, who presented to an oncology-
         affiliated physical therapy lymphedema center. Researchers found that CVI
         was the most common cause of lymphedema, responsible for 41.8% of lower
         extremity lymphedema cases.

                 While cancer has historically been considered to be the most common
         cause of lower extremity lymphedema, the findings of this study highlight the
         potential large population of patients with phlebolymphedema and the need for
         further research and increased awareness of this condition. Importantly, the
         researchers of this study suggested that the prevalence of
         phlebolymphedema is approximately 16 million in the U.S. alone, citing prior
         literature estimating that 5% of the population has some skin changes
         associated with CVI. This implies that the estimated prevalence of
         lymphedema in the U.S. is considerably larger than previous estimates of 5
         million and highlights the need for increased awareness across the medical
         community to address this much larger, underdiagnosed and underserved
         patient population.

                    Mattys also commented on the under-penetration of Flexitouch’s market:

                In December of 2019, we conducted another analysis of U.S. medical
         claims data, which showed that there were 1.3 million patients diagnosed with
         lymphedema in the 12-month period ending June 30, 2019, an increase of 18%
         in 1 year. This updated analysis suggests that the annual number of patients
         diagnosed has grown at a compounded annual growth rate of 12% over the last
         5.5 years compared to the 700,000 patients diagnosed in the 12-month period
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         ending December 31, 2013, which was the first period of data we evaluated.
         Importantly, the 1.3 million patients diagnosed represents a $5 billion plus
         addressable U.S. market opportunity, one that we believe remains very
         underpenetrated with only 40,000 Flexitouch systems shipped during 2019.

                    Also on February 26, 2020, Tactile filed with the SEC its Annual Report on

Form 10-K for the year ended December 31, 2019 (“2019 Form 10-K”). The 2019 Form

10-K was signed by Mattys, Moen, Soderberg, Burke, Huggenberger, Nigon, Pegus and

Roche.

                    The 2019 Form 10-K made the following statement regarding revenue growth:

                Revenue increased $34.5 million, or 32%, to $143.8 million in the year
         ended December 31, 2018, compared to $109.3 million in the year ended
         December 31, 2017. The growth in revenue was attributable to an increase of
         approximately $31.6 million, or 31%, in sales and rentals of our Flexitouch
         system and an increase of approximately $2.9 million, or 32%, in sales and
         rentals of our Entre and Actitouch systems in the year ended December 31,
         2018. The increase in Flexitouch system sales was largely driven by
         expansion of our sales force, increased volume due to a new contract with a
         large private insurer, the launch of the Flexitouch Plus product, our third-
         generation Flexitouch product, and sales growth in the Veterans
         Administration channel.

                    Tactile’s 2019 Form 10-K made the following statement regarding its

Medicare segment:

                 Because Medicare criteria is extensive, we have a team dedicated to
         educating prescribers to help them understand how Medicare policy affects
         their patients and the medical record documentation needed to meet both
         [National Coverage Determination] and [Local Coverage Determination]
         requirements. We maintain open communication with physician key opinion
         leaders and with Medicare contractors to provide data as it becomes available
         that could potentially influence coverage decisions. We also continue to
         closely monitor our Medicare business to identify trends that could have a
         negative impact on certain Medicare patients’ access to our products, which
         in turn could have an adverse effect on our business and results of operations.

                    Tactile’s 2019 Form 10-K also reported on its TAM:

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         Based on a study performed by Dr. Steven Dean et al., it is estimated that
         more than 16 million people in the United States are living with lymphedema
         due to CVI. This, in addition to the estimated five million individuals living in
         the U.S. with cancer-related and primary lymphedema, increases the
         prevalence estimates four-fold to over 20 million individuals. In order to more
         accurately target patients actively looking for a treatment option we have
         performed an analysis of claims data. We estimated that approximately 1.3
         million patients were diagnosed with lymphedema during the 12 months
         ended June 30, 2019. Based on a similar analysis of claims data
         commissioned by us, we estimated that there were approximately 1.1 million
         patients diagnosed with lymphedema during the 12 months ended June 30,
         2018. This represents an 18% year-over-year increase in the number of
         patients diagnosed with lymphedema in a one-year period. We estimate that
         the addressable market opportunity for our Flexitouch system exceeds $5.0
         billion in the United States, which is based on the number of patients
         diagnosed with lymphedema and our average selling price per device.

                    The 2019 Form 10-K made the following statements regarding violations of the

federal AKS and Self-Referral Laws:

                 The Federal Anti-Kickback Statute applies to certain arrangements with
         healthcare providers, product end users and other parties, including marketing
         arrangements and discounts and other financial incentives offered to our
         clinicians in connection with the sales of our products. Noncompliance with
         the Federal Anti-Kickback Statute can result in civil, administrative and
         criminal penalties, restrictions on our ability to operate in certain jurisdictions,
         and exclusion from participation in Medicare, Medicaid or other federal
         healthcare programs. In addition, to the extent we are found to not be in
         compliance, we may be required to curtail or restructure our operations.

         The Ethics in Patient Referrals Act, commonly known as the “Stark Law,”
         prohibits a physician from making referrals for certain “designated health
         services” payable by Medicare to an entity, including a company that furnishes
         durable medical equipment, in which the physician or an immediate family
         member of such physician has an ownership or investment interest or with
         which the physician has entered into a compensation arrangement unless an
         exception applies. Violation of the Stark Law could result in denial of
         payment, disgorgement of reimbursements received under a noncompliant
         arrangement, civil penalties and exclusion from Medicare or other
         governmental programs.

                Additionally, because some of these laws continue to evolve, we lack
         definitive guidance as to the application of certain key aspects of these laws
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         as they relate to our arrangements with providers with respect to patient
         training. We cannot predict the final form that these regulations will take or
         the effect that the final regulations will have on us. As a result, our provider
         arrangements may ultimately be found to be non-compliant with applicable
         federal law.

                    The 2019 Form 10-K made the following statements regarding violations of the

False Claims Act:

         Although we believe that we are in compliance with the Federal False
         Claims Act as well as the Civil Monetary Penalties laws, if we are found in
         violation of the same, penalties include fines for each false claim violation of
         the Federal False Claims Act and varying amounts based on the type of
         violation of the Civil Monetary Penalties Law, plus up to three times the
         amount of damages that the federal government sustained because of the act of
         that person. In addition, the federal government may also seek exclusion from
         participation in all federal health care programs.

                    Defendants Mattys and Moen signed the SOX Certifications that were included

in the 2019 Form 10-K and that were substantially identical to the SOX Certifications

alleged in ¶137.

                    The statements in ¶¶190-195, 197-202 above were materially false and

misleading and omitted material facts because:

                          the “growth in the number of Medicare patients served” and the “sales

growth in the Veterans Administration channel” highlighted as factors “driv[ing]” the

“increase in Flexitouch system sales” were based in part on illegal and unsustainable sales

practices involving kickbacks paid to doctors and contract trainers;

                          the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;


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                        the Company’s reported revenues from CMS and the VA were

overstated, particularly in light of the RAC audit process imposing greater scrutiny on

submitted claims;

                        the “$4 billion plus opportunity” for Flexitouch sales was overstated by

at least three times;

                        the newly augmented “addressable market opportunity for our

Flexitouch system exceed[ing] $5.0 billion in the United States” was overstated by at least

four times;

                        the reportedly increased estimated lymphedema prevalence in the U.S.

by “four-fold to over 20 million individuals” was based merely on a study’s report of “skin

changes associated with CVI,” and CVI does not necessarily develop into lymphedema;

                        the “close[] monitor[ing]” of the Medicare business “to identify trends

that could have a negative impact on certain Medicare patients’ access to our products”

omitted the Company’s engagement in kickback schemes and submissions of false claims

that risked a negative impact on the Medicare business;

                        Defendants’ stated belief in their compliance with the False Claims Act

lacked any basis given the Company’s ongoing kickback schemes and submissions of false

claims;

                        Tactile’s “arrangements with providers with respect to patient training”

violated the AKS, enacted in 1972, and the Stark Law, enacted in 1989, neither of which was

“continu[ing] to evolve”;



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                          in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                          Defendants had failed to design internal controls to address the fraud

alleged herein.

         I.         First Quarter 2020

                    On April 7, 2020, Tactile filed with the SEC a Form 8-K signed by Moen that

attached a press release, dated April 6, 2020, preliminarily announcing the Company’s 1Q20

financial results for the period ended March 31, 2020. In it, the Company withdrew its 2020

financial outlook and provided a business update on the Company’s response to the COVID-

19 pandemic. The Company noted that its 1Q20 total revenue was negatively impacted in

March by the COVID-19 pandemic.                Yet, Mattys was quoted in the press release

underscoring the lymphedema market available for its products:

         “As most of our clinician customers practice outside of the hospital, they can
         respond to patient requests for therapy and interact with us virtually. To date,
         our supply chain has been functioning well, and we have multiple safeguards
         in place designed to satisfy future demand for our products. Finally, we
         expect COVID-19 will continue to impact our near-term financial results;
         however, we remain confident in our long-term opportunity related to the $5+
         billion U.S. lymphedema market and plan to continue expanding our
         commercial organization this year to further enhance our growth profile.”

                    On May 4, 2020, Tactile filed with the SEC a Form 8-K signed by Moen that

attached a press release of the same date announcing the Company’s 1Q20 financial results

for the period ended March 31, 2020. The Company reported:


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                The increase in revenue was attributable to an increase of $4.5 million,
         or 13%, in sales and rentals of the Flexitouch system and an increase of $1.6
         million, or 45%, in sales and rentals of the Entre system in the quarter ended
         March 31, 2020. The overall revenue increase was largely driven by the
         continued expansion of our salesforce, increased physician and patient
         awareness of the treatment options for lymphedema, broad in-network
         coverage with national and regional insurance payers and growth in the
         number of Medicare patients served.

                    The press release also reiterated Defendants’ conclusions regarding the

increased prevalence of lymphedema:

         The new study suggests that the prevalence of lymphedema due to CVI is
         approximately 16 million individuals in the United States. This, in addition
         to the estimated five million individuals living in the U.S. with cancer-related
         and primary lymphedema, increases the total prevalence estimates four-fold
         to over 20 million individuals.

                    Mattys was also quoted in the press release underscoring the growing

lymphedema market:

         “While we are not currently able to predict the extent to which the COVID-19
         crisis will impact our business over the near term, we remain confident in our
         long-term opportunity related to the growing $5+ billion U.S. lymphedema
         market.”

                    On the same day, the Company hosted an earnings conference call for

investors. Mattys continued to emphasize the size the lymphedema market:

                 We remain confident in our long-term prospects. Lymphedema is a
         chronic and progressive condition, which represents a $5 billion-plus market
         opportunity with over 1.3 million patients diagnosed last year. February study
         published in the Journal of Vascular Surgery: Venous and Lymphatic
         Disorders, suggested that chronic venous insufficiency induced lymphedema
         afflicts as many as 16 million individuals in the United States.

                    The statements in ¶¶204-208 above were materially false and misleading and

omitted material facts because:


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                      the “growth in the number of Medicare patients served” that was

highlighted as a factor “driv[ing]” the “overall revenue increase” was based in part on illegal

and unsustainable sales practices involving kickbacks paid to doctors and contract trainers;

                      the Company’s reported revenues were in part the product of illegal

sales practices, including engaging in kickback schemes to push Flexitouch sales in the VA

and CMS channels and submitting false claims to CMS;

                      the Company’s reported revenues from CMS and the VA were

overstated, particularly in light of the RAC audit process imposing greater scrutiny on

submitted claims;

                      the “$5 billion-plus market opportunity” for Flexitouch was overstated

by at least four times;

                      the reportedly increased estimated lymphedema prevalence in the U.S.

by “four-fold to over 20 million individuals” was based merely on a study’s report of “skin

changes associated with CVI,” and CVI does not necessarily develop into lymphedema;

                      in violation of Item 303, Defendants failed to disclose that the Company

was exposed to an extreme risk of legal and regulatory scrutiny that put nearly 30% of its

business related to its VA and CMS channels at risk of exclusion from participating in the

federal healthcare programs; and

                      Defendants had failed to design internal controls to address the fraud

alleged herein.




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VI.      LOSS CAUSATION/ECONOMIC LOSS

                    Prior to and during the Class Period, Defendants engaged in a scheme to

defraud and issued materially false and misleading statements concerning the Company’s

true financial condition. Specifically, as a result of illegal sales practices, Defendants

reported consistent revenue growth. Moreover, the Company knowingly misrepresented that

its growth was the result of a large and untapped addressable market. When the truth began

to emerge, Defendants continued to conceal the Company’s scheme by stating the qui tam

lawsuit lacked merit and denying the allegations therein.

                    The conduct alleged herein and the materially false and misleading statements

made during the Class Period caused Tactile’s common stock to trade at artificially inflated

prices as high as $76.29 per share during the Class Period – and operated as a fraud or deceit

on investors in the Company’s common stock.

                    Later, when the relevant truth was disclosed regarding Defendants’

engagement in a kickback scheme, Tactile’s stock price suffered significant declines, as the

artificial inflation came out of the stock price.

                    On March 20, 2019, after market hours, the qui tam amended complaint that

was filed against Tactile was unsealed. Although Defendants had previously disclosed that a

qui tam lawsuit had been filed, Defendants had insisted that the lawsuit was “without merit.”

Now that the lawsuit was unsealed, however, analysts were able and did release detailed

reports on the qui tam amended complaint’s allegations.

                    On March 22, 2019, Northland Capital Markets also issued a report titled:

“Unsealed qui tam raises questions. . . .” It reported that the qui tam amended complaint

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“makes a whole host of allegations against Tactile.” The report laid out the details of the

kickback scheme and noted that “there will be a tug of war for some time moving forward.”

Guggenheim also issued a report analyzing the unsealed qui tam amended complaint’s

allegations and noted that Tactile’s stock had fallen “due in large part to the disclosure that

that a qui tam suit was filed against the company alleging violations of the False Claims Act

governing interactions with CMS and the VA system.”

                    As a result of these disclosures, Tactile’s stock dropped 7.53% from $60.10 per

share on March 20, 2019 to close at $55.57 per share on March 22, 2019.

                    On June 8, 2020, Seeking Alpha published a report called: “Strong Sell on

Tactile Systems: Bloated Stock Needs Compression Therapy,” written by OSS Research.

While a different version of the report was originally posted on May 30, 2020 on

ossresearch.com, the website had never before published any report about any stock. Until

June 2020, ossresearch.com had no web traffic according to a web traffic analytics report.

Thus, when Seeking Alpha “welcomed” OSS Research as a new contributor on June 8, 2020,

no other major news source, including Bloomberg News, had picked up the report and the

market was unaware of the information.

                    Upon Seeking Alpha’s publication of the report, the market swiftly reacted to

the new information disclosing: (i) additional details regarding the illegal sales practices in

which Tactile engaged; (ii) that Tactile was at the center of a CMS audit process finding that

submitted claims for Flexitouch had failed to establish medical necessity; and (iii) that

Tactile’s TAM was a fraction of the size Tactile had disclosed. On this news, the



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Company’s stock price fell 12.8%, or $6.95, from the prior trading day’s high of $54.21 per

share to close at $47.26 per share.

                    Like other members of the Class of purchasers of Tactile Systems common

stock who purchased at artificially inflated prices during the Class Period, Lead Plaintiff

suffered an economic loss, i.e., damages, when Tactile’s stock price declined following these

disclosures.

VII.     ADDITIONAL SCIENTER ALLEGATIONS

                    As alleged herein, Defendants acted with scienter in that they knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or

acquiesced in the issuance or dissemination of such statements or documents and actions

intended to manipulate the market price of Tactile common stock as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Tactile, their control over, and/or

receipt or modification of Tactile’s allegedly materially misleading misstatements, and/or

their associations with the Company which made them privy to confidential, proprietary

information concerning Tactile, participated in the fraudulent scheme alleged herein. In

addition to the specific facts alleged above, Defendants’ scienter is further evidenced by the

following facts.




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         A.         The Insider Trading Defendants Profited from Rampant Insider
                    Trading

                    The Insider Trading Defendants’ illegal scheme allowed them to realize a total

of $38,819,527 in illegal insider trading proceeds during the Class Period – reaping total

profits of $27,827,366 – and demonstrating both motive and opportunity to disseminate false

positive information and capitalize on an artificially increased stock price. As demonstrated

below, Defendants’ sales were very unusual in both timing and amount, calculated to

maximize personal benefit from the fraud, dramatically out of line with their pre-Class

Period trading practices, and made shortly after the dissemination of false positive

statements. The sales also represented large proportions of each Defendant’s total shares:



Insider Trading            Class Period     Class Period     Class Period      Percentage of
Defendant                  Shares Sold      Insider          Insider           Shares Sold
                                            Trading          Trading           During the
                                            Proceeds         Profits           Class Period
Gerald R. Mattys           276,787          $17,534,888      $11,444,744       46.01%
Lynn L. Blake              6,322            $347,021         $282,999          19.43%
Robert L. Folkes           154,487          $8,766,755       $5,638,760        66.94%
Bryan F. Rishe             133,289          $7,294,280       $6,140,690        76.33%
Richard J. Nigon           26,876           $1,343,375       $786,965          59.05%
Kevin H. Roche             50,000           $2,608,247       $2,608,247        56.83%
William W. Burke           16,662           $924,961         $824,961          74.04%

                    Defendant Mattys. Mattys was motivated to engage in the course of conduct

alleged herein to sell over 276,000 Tactile shares, from which he reaped $17,534,888 in

proceeds and $11,444,744 in profits:

Defendant Mattys            Price                  Shares Sold            Proceeds
Sale Date
6/26/2018                   $54.27                 14,210                 $771,177
6/26/2018                   $54.67                 5,790                  $316,539

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7/17/2018                   $55.01                  931                    $51,214
7/17/2018                   $54.48                  24,069                 $1,311,279
8/21/2018                   $61.99                  3,221                  $199,670
8/21/2018                   $63.02                  2,337                  $147,278
9/17/2018                   $66.52                  5,450                  $362,534
9/17/2018                   $67.13                  1,530                  $102,709
9/17/2018                   $68.46                  3,000                  $205,380
9/17/2018                   $65.34                  11,118                 $726,450
10/22/2018                  $64.99                  7,900                  $513,421
10/22/2018                  $63.67                  13,386                 $852,287
10/22/2018                  $64.38                  17,714                 $1,140,427
11/19/2018                  $56.27                  3,000                  $168,810
11/19/2018                  $57.98                  800                    $46,384
11/19/2018                  $55.53                  14,469                 $803,464
2/14/2019                   $70.66                  21,803                 $1,540,600
2/14/2019                   $69.50                  11,245                 $781,528
2/14/2019                   $71.43                  3,070                  $219,290
2/15/2019                   $69.97                  12,408                 $868,188
2/15/2019                   $70.47                  1,474                  $103,873
3/1/2019                    $69.54                  3,400                  $236,436
3/1/2019                    $72.53                  4,840                  $351,045
3/1/2019                    $73.33                  5,068                  $371,636
3/1/2019                    $71.71                  2,875                  $206,166
3/1/2019                    $70.33                  9,819                  $690,570
3/1/2019                    $74.58                  1,300                  $96,954
12/23/2019                  $69.85                  30,000                 $2,095,500
3/5/2020                    $48.49                  560                    $27,154
4/28/2020                   $54.95                  100                    $5,495
4/29/2020                   $55.48                  28,115                 $1,559,820
4/29/2020                   $56.14                  11,785                 $661,610
Class Period Total                                  276,787                $17,534,888

                    Mattys’s Class Period insider trading is dramatically out of line with his pre-

Class Period trading. In the twelve months before the Class Period, Mattys’s stock sales

totaled $4,505,316, and his highest-ever one-day trading totaled 21,613 shares for $562,586.

During the Class Period, Mattys sold $17,534,888 of his stock – a nearly 400% increase

from his pre-Class Period sales – and nearly half of his total Tactile holdings.


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                    Many of Mattys’s single-day trades during the Class Period were double or

triple his highest single-day trades before the Class Period. For example, for his first Class

Period sale, Mattys sold 20,000 shares for $1,087,716 – double his highest single-day

proceeds pre-Class Period.

                    Mattys’s sales also are plainly calculated to maximize his personal benefit. As

the Company’s false statements and omissions caused the stock price to increase, Mattys

took advantage by increasing his stock sales, and as the stock price decreased following

partial corrective disclosures, Mattys’s sales decreased with it. See chart below:




                    Mattys’s most unusually timed sales occurred on February 14 and 15, 2019 –

the two days after the Company was served with the qui tam action’s sealed amended

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complaint, less than two weeks before the investors knew of the qui tam action’s existence,

and one month before the qui tam amended complaint was unsealed and investors learned of

its allegations detailing Tactile’s illegal sales practices. On February 14, 2019, Mattys sold

36,118 shares for proceeds of $2,506,135, and on February 15, 2019, he sold 13,882 shares

for proceeds of $972,06, totaling $3,478,196 in proceeds of his Tactile stock – close to his

total sales for the entire year before the Class Period.

                    While Mattys’s stock sales were made pursuant to 10(b)(5)-1 insider trading

plans, the plans themselves indicate abuse of the insider trading laws. For example, Mattys’s

first Class Period insider trading plan was adopted on May 9, 2018. He used this plan to

execute his first three Class Period sales – on June 26, 2018, July 17, 2018, and August 21,

2018. However, by May 9, 2018, the Company was already engaged in the kickback and

false claims schemes, and had already begun issuing false statements concerning its revenue

and the size of its addressable market. Mattys accordingly adopted his first insider trading

plan while he was in possession of material, nonpublic information.

                    Further, Mattys adopted seven separate insider trading plans during the Class

Period. Because he sold shares on thirteen separate days during the Class Period, roughly

every other sale during the Class Period was made pursuant to a different insider trading

plan:

Adoption Date of New 10(b)(5)-1 Plan               Trades Made Pursuant to The Plan
May 9, 2018                                        June 26, 2018
                                                   July 17, 2018
                                                   August 21, 2018
August 21, 2018                                    September 17, 2018
                                                   October 22, 2018
September 10, 2018                                 November 19, 2018
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December 12, 2018                                  February 14, 2018
                                                   February 15, 2018
                                                   March 1, 2019
May 8, 2019                                        December 23, 2019
June 10, 2019                                      March 5, 2020
March 13, 2020                                     April 28, 2020
                                                   April 29, 2020


                    Defendant Blake. Blake was motivated to engage in the course of conduct

alleged herein to sell over 6,000 Tactile shares, from which she reaped $347,021 in proceeds

and $282,999 in profits:

Defendant Blake             Price                  Shares Sold           Proceeds
Sale Date
5/15/2018                   $44.95                 556                   $24,992
7/31/2018                   $48.08                 766                   $36,829
8/16/2018                   $57.04                 5,000                 $285,200
Class Period Total                                 6,322                 $347,021


                    Blake’s insider trading was unusual in timing and amount because her trading

during the Class Period was dramatically out of line with her trading before the Class Period.

In fact, in the approximately 15 months before the Class Period, Blake sold 11,945 shares for

$490,578. By contrast, in only the approximately four months during the Class Period while

still CFO of Tactile, she sold 6,322 shares for $347,021. Her average monthly insider

trading proceeds during the Class Period were accordingly 265% higher than her average

monthly proceeds before the Class Period. Before the Class Period, her largest sale was of

2,727 shares for $52,495. During the Class Period, her largest sale was of 5,000 shares for

$285,200 – 543% more than her largest pre-Class Period sale.



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                    The timing of her largest sale during the Class Period was also calculated to

maximize her personal benefit. Her largest sale was made on August 16, 2018 – after the

false and misleading statements in the 1Q18 and 2Q18 earnings announcements had

dramatically increased the stock price from roughly $35 per share pre-Class-Period to $57.04

per share, and before any corrective disclosures inevitably decreased the price. The sale was

also made two weeks before Blake’s retirement became effective. As she made her exit from

the Company, Blake also capitalized on the material, nonpublic information she possessed

regarding Tactile’s fraudulent course of business. Notably, Blake had a 10(b)(5)-1 insider

trading plan that was effective during the Class Period. She made each of her Class Period

sales pursuant to this plan, except for her large August 16, 2018 sale, which was not made

pursuant to her insider trading plan.

                    Defendant Folkes. Folkes was motivated to engage in the course of conduct

alleged herein to sell over 154,000 Tactile shares, from which he reaped $8,766,755 in

proceeds and $5,638,760 in profits:

Defendant Folkes            Price                  Shares Sold            Proceeds
Sale Date
5/18/2018                   $46.05                 2,482                  $114,296
6/1/2018                    $49.78                 3,044                  $151,530
6/18/2018                   $55.92                 1,082                  $60,505
6/18/2018                   $55.32                 1,400                  $77,448
7/2/2018                    $51.50                 3,043                  $156,715
7/18/2018                   $54.55                 2,482                  $135,393
8/1/2018                    $47.54                 3,043                  $144,664
8/17/2018                   $57.95                 2,482                  $143,832
9/4/2018                    $67.25                 2,000                  $134,500
9/4/2018                    $67.77                 1,044                  $70,752
9/10/2018                   $70.05                 5,000                  $350,250
9/18/2018                   $64.73                 2,482                  $160,660
10/1/2018                   $71.54                 3,044                  $217,768
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10/18/2018           $65.82              2,483             $163,431
11/1/2018            $65.29              3,043             $198,677
11/27/2018           $54.07              2,067             $111,763
11/27/2018           $53.35              12,248            $653,431
11/28/2018           $52.58              7,535             $396,190
11/28/2018           $54.21              240               $13,010
11/28/2018           $53.39              1,100             $58,729
12/3/2018            $56.27              3,043             $171,230
1/2/2019             $45.42              3,044             $138,258
1/15/2019            $59.49              2,500             $148,725
1/17/2019            $60.85              2,500             $152,125
2/1/2019             $66.04              3,044             $201,026
2/11/2019            $68.61              2,500             $171,525
2/13/2019            $70.22              2,500             $175,550
3/1/2019             $69.00              3,044             $210,036
3/12/2019            $70.36              2,500             $175,900
3/14/2019            $61.72              2,500             $154,300
4/16/2019            $52.45              2,500             $131,125
4/18/2019            $49.83              2,500             $124,575
5/13/2019            $53.25              1,574             $83,816
5/13/2019            $54.40              926               $50,374
5/15/2019            $51.52              100               $5,152
5/15/2019            $50.40              2,400             $120,960
5/21/2019            $50.00              10,607            $530,350
6/11/2019            $53.80              2,500             $134,500
6/13/2019            $52.75              2,500             $131,875
6/20/2019            $56.02              2,106             $117,978
6/27/2019            $52.38              2,106             $110,312
7/11/2019            $55.31              2,106             $116,483
7/25/2019            $55.17              506               $27,916
7/25/2019            $54.49              1,600             $87,184
8/8/2019             $51.13              2,106             $107,680
8/22/2019            $50.85              2,106             $107,090
9/12/2019            $50.11              2,106             $105,532
9/26/2019            $45.11              2,106             $95,002
10/10/2019           $42.29              2,106             $89,063
10/24/2019           $45.38              2,106             $95,570
11/7/2019            $51.27              2,106             $107,975
11/21/2019           $58.21              2,106             $122,590
11/22/2019           $60.12              2,273             $136,653
12/12/2019           $65.04              2,106             $136,974
12/26/2019           $71.04              127               $9,022
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12/26/2019                   $69.30                 1,479                   $102,495
12/26/2019                   $70.40                 500                     $35,200
1/9/2020                     $68.02                 2,106                   $143,250
1/23/2020                    $57.21                 2,106                   $120,484
2/6/2020                     $59.17                 2,106                   $124,612
2/20/2020                    $63.62                 2,106                   $133,984
3/5/2020                     $48.67                 180                     $8,761
Class Period Total                                  154,487                 $8,766,755


                    Folkes’s sales were also unusual in timing and amount. Before the Class

Period, he sold once or twice per month for no more than $300,000 per month. Beginning in

September 2018 – after the misstatements and omissions inflated the stock price but before

any corrective disclosures – Folkes’s sales skyrocketed. In September 2018 alone he sold

$716,162 worth of his shares, and in November 2018 alone he sold $1,431,800 worth of his

shares – 477% more than his monthly pre-Class Period sales. These sales ranged from

roughly $53 to $71 per share – substantially higher than pre-Class Period prices, and near the

Class Period high.

                    Folkes’s 10(b)(5)-1 insider trading plans also indicate his abuse of the insider

trading laws. During the Class Period, he traded pursuant to five separate insider trading

plans. His first plan was adopted before the Class Period, but on the first day of the Class

Period, he adopted a new plan. He later adopted three additional plans during the Class

Period. Each plan that he adopted during the Class Period was adopted while he was in

possession of material, nonpublic information concerning Tactile’s fraudulent course of

conduct. Further, his four largest trading days during the Class Period were made outside of

any trading plan. On September 10, 2018, he sold 5,000 shares for $350,250. On November

27, 2018, he sold 14,315 shares for $765,194. The following day, he sold 8,875 shares for
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$467,929. On May 21, 2019, he sold 10,607 shares for $530,350. The sales made outside of

Folkes’s insider trading plans totaled roughly one quarter of his overall Class Period insider

trading proceeds.

                    Defendant Rishe. Rishe was motivated to engage in the course of conduct

alleged herein to sell over 133,000 Tactile shares, from which he reaped proceeds of

$7,294,280 and profits of $6,140,690:

Defendant Rishe             Price                Shares Sold          Proceeds
Sale Date
5/21/2018                   $46.02               1,500                $69,030
6/15/2018                   $54.77               900                  $49,293
6/15/2018                   $55.59               2,100                $116,739
6/20/2018                   $55.69               1,500                $83,535
7/16/2018                   $52.49               3,000                $157,470
8/15/2018                   $57.48               2,900                $166,692
8/15/2018                   $58.47               100                  $5,847
9/14/2018                   $68.63               2,476                $169,928
9/14/2018                   $69.30               524                  $36,313
10/15/2018                  $61.72               3,000                $185,160
11/15/2018                  $56.66               3,000                $169,980
12/14/2018                  $51.22               3,000                $153,660
1/15/2019                   $59.49               3,000                $178,470
2/15/2019                   $69.44               3,000                $208,320
3/15/2019                   $62.70               3,000                $188,100
4/15/2019                   $52.98               3,000                $158,940
5/15/2019                   $51.16               100                  $5,116
5/15/2019                   $50.39               2,900                $146,131
6/10/2019                   $53.75               193                  $10,374
6/10/2019                   $53.25               4,619                $245,962
6/25/2019                   $53.44               2,725                $145,624
6/25/2019                   $54.31               2,087                $113,345
7/10/2019                   $55.09               3,580                $197,222
7/10/2019                   $55.78               1,233                $68,777
7/25/2019                   $54.19               4,012                $217,410
7/25/2019                   $54.92               800                  $43,936
8/12/2019                   $48.63               4,613                $224,330
8/12/2019                   $49.69               200                  $9,938
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8/26/2019                  $48.56               4,099                 $199,047
8/26/2019                  $48.98               713                   $34,923
9/10/2019                  $49.00               1,213                 $59,437
9/10/2019                  $48.59               3,600                 $174,924
9/25/2019                  $45.77               4,512                 $206,514
9/25/2019                  $46.30               300                   $13,890
10/10/2019                 $43.19               201                   $8,681
10/10/2019                 $42.62               4,612                 $196,563
10/25/2019                 $44.88               4,812                 $215,963
11/11/2019                 $51.75               2,713                 $140,398
11/11/2019                 $51.24               2,100                 $107,604
11/25/2019                 $62.05               1,157                 $71,792
11/25/2019                 $61.80               3,655                 $225,879
12/10/2019                 $64.23               4,813                 $309,139
12/23/2019                 $70.00               3,409                 $238,630
12/26/2019                 $70.81               305                   $21,597
12/26/2019                 $69.09               3,980                 $274,978
12/26/2019                 $70.04               527                   $36,911
1/10/2020                  $68.77               2,331                 $160,303
1/24/2020                  $58.19               2,330                 $135,583
2/10/2020                  $58.63               2,330                 $136,608
2/25/2020                  $55.75               2,330                 $129,898
3/5/2020                   $48.87               204                   $9,969
3/10/2020                  $43.75               2,330                 $101,938
3/25/2020                  $40.00               2,331                 $93,240
4/13/2020                  $47.26               2,330                 $110,116
4/27/2020                  $52.66               2,330                 $122,698
5/11/2020                  $49.22               2,330                 $114,683
5/26/2020                  $50.10               2,330                 $116,733
Class Period Total                              133,289               $7,294,280


                    Rishe’s sales were also unusual in timing and amount. Before the Class

Period, he mechanically sold 3,000 shares each month. In June 2019 – while the Company

continued to lie about its revenue growth, its total addressable market, and the merits of the

qui tam lawsuit – he increased his monthly sales three-fold to 9,625 shares per month. As

SVP of sales, Rishe knew and had directed the illegal sales practices. Rishe further knew


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that these illegal sales practices had contributed to the Company’s reported revenue growth,

which had thereby falsely inflated Tactile’s share price. Meanwhile, as Rishe knew, the

Company risked losing approximately 30% of its business through violations of the AKS and

False Claims Act and that contrary to Defendants’ statements to investors, the qui tam

lawsuit had merit. Cashing in before the fraud was revealed, Rishe dumped 76.33% of his

shares during the Class Period.

                    His Class Period sales were also made pursuant to five separate 10(b)(5)-1

insider trading plans. His first Class Period sale was made on May 21, 2018, pursuant to a

plan adopted on May 31, 2017. Yet, on May 11, 2018 – four days into the Class Period – he

adopted a new plan. He adopted additional plans on May 9, 2019, November 21, 2019, and

June 6, 2019. Each of the plans adopted during the Class Period was adopted while Rishe

was in possession of material, nonpublic information concerning Tactile’s fraudulent course

of conduct.

                    Defendant Burke. Burke was motivated to engage in the course of conduct

alleged herein to sell over 16,000 Tactile shares, from which he reaped proceeds of $924,961

and profits of $824,961:

Defendant Burke             Price                 Shares Sold           Proceeds
Sale Date
5/14/2018                   $45.86                700                   $32,102
8/9/2018                    $58.74                5,000                 $293,700
5/14/2019                   $52.65                412                   $21,692
6/18/2019                   $55.00                10,000                $550,000
5/13/2020                   $49.94                550                   $27,467
Class Period Total                                16,662                $924,961




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                    Burke’s Class Period trading was also dramatically out of line with his pre-

Class Period trading. In the year before the Class Period, he sold only 3,500 shares for

$95,595. During the Class Period, he sold 16,662 shares for $924,961 – 967% more than he

sold before the Class Period. His largest sale during the Class Period was of 10,000 shares

for $550,000 on June 18, 2019. This sale was five times larger than any of his pre-Class

Period sales. It was also made while the stock price was inflated by the false and misleading

statements regarding Tactile’s revenue growth and total addressable market. As a member of

the Board’s compliance and audit committees – responsible for compliance with the very

laws that the scheme violated – Burke knew the truth about the kickback scheme and the

False Claims Act violations, and he knew that the Company was lying about the merits of the

qui tam lawsuit. His sales of 74% of his stock during the Class Period accordingly

demonstrate his motive and opportunity to profit from the temporarily inflated price before

further disclosures would inevitably cause the price to plummet.

                    Defendant Burke did not trade pursuant to a 10(b)(5)-1 trading plan for his first

two sales of the Class Period. However, his three other sales during the Class Period were

made pursuant to three separate trading plans. He sold on May 14, 2019 pursuant to a plan

he adopted on December 11, 2018. He sold on June 18, 2019 pursuant to a plan he adopted

on May 8, 2019, and he sold on May 13, 2020 pursuant to a plan he adopted on November

27, 2019. Each plan was adopted well into the Class Period, while Burke was in possession

of material, nonpublic information concerning Tactile’s fraudulent course of business.




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                    Defendant Nigon. Nigon was motivated to engage in the course of conduct

alleged herein to sell over 26,000 Tactile shares, from which he reaped $1,343,375 in

proceeds and $786,965 in profits:

Defendant Nigon             Price                 Shares Sold           Proceeds
Sale Date
5/15/2019                   $50.33                15,000                $754,950
9/4/2019                    $49.35                39                    $1,925
9/5/2019                    $49.35                1,900                 $93,765
9/9/2019                    $49.30                5,354                 $263,952
9/10/2019                   $49.92                4,583                 $228,783
Class Period Total                                26,876                $1,343,375


                    Nigon’s sales were unusual in timing and amount. Nigon sold no stock before

the Class Period, but from May 2019 to September 2019 – in a mere five months – he sold

59% of his holdings for $1,343,375. As a member of the Board’s compliance committee and

chairman of the audit committee – responsible for compliance with the very laws that the

scheme violated – Nigon knew the truth about the kickback scheme and the False Claims Act

violations, and he knew that the Company was lying about its revenue growth, total

addressable market, and the merits of the qui tam lawsuit. Notably, his five-month sell-off

occurred after the stock rebounded following the Company’s denials in 2018 10-K about the

qui tam lawsuit’s merit. While the price was artificially inflated, Nigon seized the

opportunity to profit from the lies by selling 59% of his stock before the full truth of the

scheme could be revealed. None of Defendant Nigon’s insider trades during the Class

Period were made pursuant to a 10(b)(5)-1 insider trading plan.




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                    Defendant Roche. Roche was motivated to engage in the course of conduct

alleged herein to sell at least 50,000 Tactile shares, from which he reaped $2,608,247 in

proceeds and $2,608,247 in profits:

Defendant Roche             Price               Shares Sold          Proceeds
Sale Date
5/10/2018                   $44.41              15,000               $666,150
8/9/2018                    $58.19              1,134                $65,987
8/9/2018                    $59.25              1,645                $97,466
8/10/2018                   $57.37              12,221               $701,119
5/10/2019                   $57.25              10,093               $577,824
5/30/2019                   $50.00              4,907                $245,350
8/22/2019                   $50.87              5,000                $254,350
Class Period Total                              50,000               $2,608,247


                    Roche’s Class Period trading was also unusual in timing and amount. He

routinely sold shares within days after false and misleading earnings announcements

significantly increased the stock price. His first Class Period sale occurred on May 10, 2018

– three days after the 1Q18 earnings announcement. Before the announcement, the stock

was trading at roughly $35 per share. After the announcement, and when Roche sold, the

stock was trading at roughly $44.41 per share – a 26.9% increase for Roche. His second and

third Class Period sales were on August 9 and 10, 2018 – three and four days after the 2Q18

earnings announcement. Before the announcement, the stock was trading at roughly $48 per

share. After the announcement, and when Roche sold, the stock was trading at roughly $58

per share – a roughly 20% increase for Roche. He sold again on May 10, 2019, four days

after the 1Q19 announcement. Before the announcement, the stock was trading at roughly

$53 per share. After the announcement, when Roche traded, it was $57.25 per share – a

roughly 7% increase for Roche. Like his fellow audit and compliance committee Board
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members, Defendant Roche also took advantage of his position and the public’s unawareness

to profit from the Company’s misstatements and omissions. None of Defendant Roche’s

Class Period insider sales were made pursuant to a 10(b)(5)-1 insider trading plan.

                    Not only did the Insider Trading Defendants engage in a mass equity sell-off

during the Class Period, but they also sold their shares at unusual times and amounts that

were calculated to maximize their personal gain to their shareholders’ detriment.

         B.         Bonus Compensation Also Motivated Defendants’ Fraud

                    Bonus compensation paid to Tactile’s management, including certain of the

Individual Defendants, supports a strong inference of scienter.              Tactile adopted a

Management Incentive Plan (the “MIP”) on March 8, 2017 pursuant to which annual cash

incentive opportunities were provided to the Company’s executive officers and other

employees. The Compensation and Organization Committee of Tactile’s Board (the

“Compensation Committee”), which Defendant Burke chaired, determined which employees

participated in the MIP and granted an award for the calendar year performance period.

                    In March 2018, the Compensation Committee specified the performance goals

under the MIP for the 2018 performance period. The Compensation Committee weighted

revenue performance at 80% of the overall award, and adjusted EBITDA performance for

the remaining 20%.           The same weights applied for the 2019 and 2020 MIP.            The

Compensation Committee also established the target dollar amount for each participant in the

MIP.

                    On February 22, 2019, the Compensation Committee determined that because

revenue for 2018 was $143.8 million, the resulting percentage payout level relative to the

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target amount for that metric was 150%. The Compensation Committee also determined that

because Adjusted EBITDA was $17.2 million, the resulting percentage payout level relative

to the target amount for that metric was 137%. Applying the applicable weightings to the

revenue metric (80%) and the Adjusted EBITDA metric (20%), the weighted payout

percentage resulted in 147.4% of the target dollar amount. Thus, for 2018, the following

Defendants earned non-equity MIP payments of 147.4% of the target dollar amount:

  Name                       Base Salary        MIP Target Amount       2019 MIP Payment

  Gerald R. Mattys           $502,115           $371,250                $574,074

  Brent A. Moen              $104,942           $53,207                 $78,406

  Lynn L. Blake              $212,019           $160,500                $157,447

  Robert J. Folkes           $315,192           $157,500                $232,092



Defendants Moen’s and Blake’s target dollar amount and accordingly their MIP payments

were prorated based on the portion of 2018 when they served as officers of Tactile.

                    For 2018, Defendant Rishe had a separate annual bonus arrangement. Under

that plan, Rishe earned, on a quarterly basis, bonus amounts based on the results against

quota for two components: (1) a quarterly revenue quota and bonus for attaining Flexitouch

shipment quotas (“Revenue Quota”), and (2) a quarterly quota based on the amount of units

sold into the Veterans Administration system (“VA Quota”). Specifically, under the

Revenue Quota, Rishe could earn a quarterly bonus ranging from $3,000 if the threshold

quota was attained to $37,500 if the maximum quota was attained. Under the VA Quota,

Rishe could earn a quarterly bonus ranging from $5,000 if the threshold quota was attained

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to $14,000 if the maximum quota was attained. The Compensation Committee designated

Mattys to set the budgets, quotas, and targets in Rishe’s bonus arrangement and to measure

the Company’s performance against them. Pursuant to his 2018 incentive compensation

plan, Rishe earned an aggregate bonus of $188,500, or 91.5% of the maximum possible

under the plan.

                    On February 26, 2020, the Compensation Committee determined that because

revenue for 2019 was $189.5 million, the resulting percentage payout level relative to the

target amount for that metric was 150%. The Compensation Committee also determined that

because Adjusted EBITDA was $25.3 million, the resulting percentage payout level relative

to the target amount for that metric was 132.5%. Applying the applicable weightings to the

revenue metric (80%) and the Adjusted EBITDA metric (20%), the weighted payout

percentage resulted in 146.5% of the target dollar amount. Thus, for 2019, the following

Defendants earned non-equity MIP payments of 146.5% of the target dollar amount:

  Name                     Base Salary       MIP Target Amount       2019 MIP Payment

  Gerald R. Mattys         $573,750          $497,250                $728,471

  Brent A. Moen            $334,827          $171,185                $250,786

  Robert J. Folkes         $328,558          $167,500                $245,388

  Bryan F. Rishe           $333,462          $153,000                $224,145



                    Because revenue performance had 80% weight in determining the MIP bonus

payments, these Defendants were motivated to increase revenue, including through the

illegitimate and unlawful means alleged herein.

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         C.         Defendants Set Incentive Compensation for Tactile’s Sales
                    Management to Sell Flexitouch

                    The bonus compensation plan that Mattys, Blake, Moen, Folkes, and Rishe set

for Tactile’s sales management supports an inference of scienter.

                    The 2018 Regional Manager & Area Director Incentive Compensation Plan

(the “Plan”), effective April 1, 2018 through March 31, 2019, was to “motivate performance

beyond base goals” for the Company’s sales management – the regional managers and area

directors – who reported directly to Rishe:

         These goals are to meet and exceed planned Revenue Targets, Product Ship
         Goals and OC [Order Completion] Quotas established by Tactile Medical . . .
         by rewarding Regional Managers & Area Directors for leading, motivating
         and managing the Product and Senior Sales Specialists and Associates in
         closing orders that are shipped to patients.

                    The Plan was administered by Tactile’s Sales Compensation Committee, which

was comprised of the CEO (Mattys), the CFO (Blake, or upon her departure, Moen), COO

(Folkes), SVP of Sales (Rishe), and VP of Marketing (Darren Wennen). The Sales

Compensation Committee was “authorized to make all decisions as required in the

administration of the Plan and to exercise its discretion to define, interpret, construe, apply

and make any exceptions to the terms of the Plan.”

                    The Plan detailed “payouts” to the regional managers and area directors based

on reaching certain sales targets. For example, the Plan set monthly order completion

(“OC”) incentives based on the percentage of the OC quota attained. Thus, in 2018, if 100%

of the Flexitouch monthly OC quota was attained, regional managers or area directors either

received a “Monthly Incentive Payout” of $3,000 if the E0651 quota was also 100% attained,

or $2,000 if the E0651 quota was less than 100% attained. However, if less than 100%, but
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more than 90%, of the Flexitouch quota was attained, then the regional managers or area

directors received $1,000, regardless of whether the E0651 quota was met or even surpassed.

And if Flexitouch sales were less than 90% of the quota, then no Monthly Incentive Payment

was earned, regardless of whether the E0651 quota was met or surpassed.

                    The Plan also provided a “Quarterly Shipment Revenue Target Incentive.”

Tactile generally recognized revenue from the sale of a product upon its shipment. The

quarterly bonus payout ranged from $3,000 for attaining 90% of the Shipment Revenue

Target to $30,000 for attaining 130% of the Shipment Revenue Target. There was no payout

for performance below 90% of the Shipment Revenue Target.

                    In addition, the Plan provided a “Quarterly VA Account Development

Incentive to reward sales growth in the VA channel.” Thus, when a sales region met the

quarterly VA revenue target, then the respective regional manager or area director was paid a

bonus of $6,000 for the quarter. If the region attained 130% of the VA revenue target, then

the regional manager or area director was paid a bonus of $20,000 for the quarter.

                    Finally, the Plan included a “Revenue Acceleration” provision that was

“designed to incentivize maximum revenue.” Under this provision, the E0651 quota

requirement was reduced by two for each Flexitouch order completion attained in excess of

the Flexitouch quota requirement. In this way, Defendants set a Plan to incentivize its sales

force to sell Flexitouch by rewarding aggressive and even illegal sales tactics, thereby

supporting an inference of scienter.




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         D.         Defendants Mattys, Folkes, and Rishe Were Central in
                    Determining Sales Strategies

                    Defendants Mattys, Folkes, and Rishe were core members of management at

Tactile who determined the Company’s sales strategy by setting sales quotas for the

Company’s sales representatives, approving the sales team’s incentive plans, setting the

regions covered by regional managers and area directors, determining the yearly budget, and

running the Quarterly Business Reviews and annual National Sales Meetings.

                    During his deposition in the employment discrimination suit against the

Company, Mattys testified the “senior management team” usually begins the annual

budgeting process for the upcoming years “[a]round October.” As part of that process, Rishe

presented to the senior management team, which Mattys and Folkes, his recommendations

“once he’s figured out what he wants to do the following year.” As Mattys testified, if the

recommendations met “the sales objectives that we’ve put in place, then those get approved

by the management team and presented to our board of directors.”

                    Mattys also testified about his involvement along with Rishe and Folkes in the

process for determining sales quotas, including for the 2018:

         [Attorney]: How involved do you get in determining how quotas are going
         to be set at Tactile?

         [Mattys]:         I would say I’m involved.

         [Attorney]:       What is your involvement specifically?

         [Mattys]:         To review the proposed quotas by region, even by product
         specialist.

         [Attorney]:       Do you provide feedback to somebody about those proposals?

         [Mattys]:         Yes.

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         [Attorney]:       To whom do you provide the feedback?

         [Mattys]:         Usually it’s Bryan [Rishe].

         [Attorney]:       From whom do you usually receive the proposals?

         [Mattys]:         From Bryan and/or Bob [Folkes].

         [Attorney]: If I understand the process correctly for quota, Bryan or Bob,
         depending on the year, sends you a proposal, you give them comments and
         you -- you give them comments and feedback, correct? . . .

         [Mattys]:         And we discuss to understand the rationale behind what’s in the
         plan.

                    As provided in the response to an interrogatory posed in the employment

discrimination suit, the Company also affirmed the involvement of Mattys, Folkes, and Rishe

in setting the salaries for the Regional Sales Managers and Area Directors:

         Bryan Rishe and Bob Folkes work together in setting the compensation,
         including base salaries of Regional Sales Managers and Area Directors. HR is
         also consulted on the base salary range and how to adjust base salaries for
         geography. Jerry Mattys reviews and approves base salaries of Regional Sales
         Managers and Area Directors.

                    In addition, Mattys testified that within guidelines set by the Compensation

Committee of the Board, he could approve equity grants for area sales directors without

getting approval for the specific grants.

                    Likewise, Rishe testified that promotions from area director in sales to regional

sales manager were “run through a committee, which was essentially” Mattys, Folkes, and

Rishe.

                    In their roles setting and monitoring Tactile’s sales strategy, Mattys, Folkes

and Rishe knew or were reckless in not knowing that their revenues were misstated and

based on illegal sales practices.

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         E.         Tactile Management Closely Tracked Flexitouch Sales

                    Rishe and other Tactile employees testified in the employment discrimination

action regarding the Company’s enterprise software system, called FileMaker, that they

“r[a]n the business on” and that generated and collected sales reports. Tactile employees

accessed the reports on their internal server called “Info Source.” Senior management and

every member of the sales team received the “plan versus actual” report every night; if

executives or employees sought other reports, they could generate them on Info Source. For

instance, Rishe testified that for reviewing “the VA growth numbers,” Folkes “has a report

that he uses for VA commission calculation, and that would include – that would be

encompassing all shipments.” Likewise, Mattys testified during his deposition in the

employment discrimination case, senior management had “data . . . by individual

representative,” such that “[e]ach rep we track.”

                    By closely monitoring the Flexitouch sales, Mattys, Blake, Moen, Folkes, and

Rishe knew, or were reckless in not knowing, that Tactile’s reported revenues were misstated

and based in part on illegal sales practices; that these practices put at risk approximately 30%

of its business; and that the market for Flexitouch was smaller than disclosed.

         F.         Flexitouch Sales Were Critical to Tactile’s Core Operations

                    The Individual Defendants’ knowledge that the Company’s kickback and false

claims schemes were a source of its financial success can be inferred because Flexitouch was

Tactile’s core product, the sale of which was critical to its business. Specifically, the sale of

Flexitouch accounted for approximately 90% of Tactile’s revenues during the Class Period.



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                    In a declaration dated October 21, 2019 and filed in the employment

discrimination action, Mattys attested that Flexitouch was the company’s “signature

product,” and its “highest revenue producing product, responsible for the majority of

Tactile’s sales.”

                    Moreover, reporting Flexitouch’s sales growth was critical to the Company.

To convince investors that the Company was growing every quarter, Defendants increased

Tactile’s revenue outlook for the year until the COVID-19 pandemic. As Mattys testified,

“[g]rowth year-over-year is a big one for us.” Moreover, to persuade investors of its growth

story, the Company made false and misleading statements regarding the market opportunity

for Flexitouch, characterizing it as much larger than it was.

                    Given the importance of Flexitouch and growing its sales for Tactile’s

business, knowledge of the illegal practices to promote Flexitouch sales as described above

can be imputed to the Individual Defendants.

         G.         Defendants Personally Reviewed and Approved Public
                    Statements

                    Before Defendants made statements to investors, they reviewed and approved

the statements. As part of this approval process, Defendants were in a position to know, and

did know, that the statements made to investors were false and misleading, or omitted

material information necessary to make the statements not misleading.

                    In the course of his deposition in the employment discrimination action

brought against the Company by Tracy Sempowich, Defendant Mattys admitted that that he

“personally review[ed]” the drafts of the scripted remarks made during investor conference


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calls. He also testified that the call script was “actually reviewed by our audit committee of

the board of directors.” During the Class Period, the audit committee comprised Defendant

Nigon, the committee chairman, and Defendants Burke and Roche.

                    Moreover, in connection with Tactile’s public financial statements filed with

the SEC during the Class Period, Defendants Mattys, Blake, and Moen issued SOX

Certifications attesting that they each personally supervised and participated in the

evaluation of Tactile’s financial statements and that the Company’s financial disclosures

fairly and accurately presented its financial condition.

         H.         Tactile Executives’ Departures Support Inference of Scienter

                    The multiple departures by Tactile executives supports a strong inference of

scienter. On January 13, 2020, Tactile announced that Mattys, who at the time was 59 years

old, had informed the Board on January 10, 2020 he intended to retire. Mattys’s departure

announcement was in the wake of the qui tam lawsuit’s filing, but before the full extent of

the fraud was revealed in the Seeking Alpha article on June 8, 2020.

                    Then, less than three months after the disclosures in Seeking Alpha, the

Company made the stunning announcement on September 3, 2020 that “we have determined

to eliminate the position of Chief Operating Officer,” thus terminating Folkes.

                    Other executives, meanwhile, made their exit from the Company before the

fraud was revealed. On August 6, 2018, Tactile filed a Form 8-K with the SEC announcing

that Defendant Blake would resign “for personal reasons” effective September 1, 2018 –

only four months into the Class Period. The Company also announced on July 22, 2019, that



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another senior Tactile executive, Mary Thompson, Senior Vice President of Reimbursement

and Payer Relations was retiring, to be replaced by Jay Stracke.

                    The large number of executives departing in a short period of time supports a

strong inference that the illegal sales practices – concealed from investors – was known

among the Company’s top executives.

VIII. PRESUMPTION OF RELIANCE

                    Lead Plaintiff will rely upon the presumption of reliance established by the

fraud-on-the-market doctrine in that, among other things:

                           Defendants made public misrepresentations or failed to disclose

material facts during the Class Period;

                           The omissions and misrepresentations were material;

                           The Company’s stock traded in an efficient market;

                           The misrepresentations alleged would tend to induce a reasonable

investor to misjudge the value of the Company’s stock; and

                           Lead Plaintiff and other members of the Class purchased Tactile

common stock between the time Defendants misrepresented or failed to disclose material

facts and the time the true facts were disclosed, without knowledge of the misrepresented or

omitted facts.

                    At all relevant times, the market for Tactile common stock was efficient for the

following reasons, among others:

                           As a regulated issuer, Tactile filed periodic public reports with the SEC;

and

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                           Tactile regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press

releases on the major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press, securities analysts and other similar

reporting services.

                    A Class-wide presumption of reliance is also appropriate in this action under

the U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406

U.S. 128 (1972), because the Class’s claims are grounded on Defendants’ material

omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding Tactile’s business and operations – information that Defendants were

obligated to disclose – positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might

have considered them important in making investment decisions. Given the importance of

the Class Period material misstatements and omissions set forth above, that requirement is

satisfied here.

IX.      CLASS ACTION ALLEGATIONS

                    Lead Plaintiff brings this action as a class action pursuant to Rule 23(a) and

23(b)(3) of the Federal Rules of Civil Procedure on behalf of all persons who purchased or

otherwise acquired Tactile common stock during the Class Period (the “Class”). Excluded

from the Class are Defendants and their families, the officers and directors of the Company

at all relevant times, members of their immediate families and their legal representatives,



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heirs, successors or assigns, and any entity in which Defendants have or had a controlling

interest.

                    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Tactile common stock trades on the Nasdaq

Global Market and according to the Company’s SEC filings had more than 19 million shares

outstanding as of February 19, 2020. While the exact number of Class members can only be

determined by appropriate discovery, Lead Plaintiff believes that Class members number at

least in the hundreds, if not the thousands, and that they are geographically dispersed. Class

members who purchased Tactile common stock may be identified from records maintained

by the Company, or its transfer agent(s), and may be notified of this class action using a form

of notice similar to that customarily used in securities class actions.

                    There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

                           whether Defendants violated the Exchange Act;

                           whether Defendants engaged in a fraudulent scheme;

                           whether the Insider Trading Defendants traded contemporaneously with

the Class while in the possession of material, nonpublic information;

                           whether Defendants omitted and/or misrepresented material facts;

                           whether Defendants’ statements omitted material facts necessary to

make the statements made, in light of the circumstances under which they were made, not

misleading;
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                           whether Defendants knew or recklessly disregarded that their statements

were materially false and misleading;

                           whether reliance may be presumed pursuant to the fraud-on-the-market

doctrine or presumption;

                           whether the price of Tactile common stock was artificially inflated; and

                           the extent of damage sustained by Class members and the appropriate

measure of damages.

                    Lead Plaintiff’s claims are typical of those of the Class because Lead Plaintiff

and the Class sustained damages from Defendants’ wrongful conduct.

                    Lead Plaintiff will adequately protect the interests of the Class and has retained

counsel who are experienced in class action securities litigation. Lead Plaintiff has no

interests which conflict with those of the Class.

                    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because joinder of all members is impracticable.

Furthermore, as the damages suffered by individual Class members may be relatively small,

the expense and burden of individual litigation make it impossible for members of the Class

to individually redress the wrongs done to them. There will be no difficulty in the

management of this case as a class action.

                    Lead Plaintiff makes the allegations herein based upon the investigation by

Lead Plaintiff’s counsel, which included a review of regulatory filings made by Tactile with

the SEC, as well as other regulatory filings and reports, securities analysts’ reports and

advisories about the Company, press releases and other public statements issued by the
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Company, and media reports about the Company. Lead Plaintiff believes that substantial

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                             COUNT I
                                 (False and Misleading Statements)

                            Violation of §10(b) of the Exchange Act and
                             Rule 10b-5(b) Promulgated Thereunder
                             Against Tactile, Mattys, Blake, and Moen

                    Lead Plaintiff incorporates by reference and realleges each and every

allegation contained above, as if set forth fully herein.

                    During the Class Period, Defendants made false and misleading statements of

material fact and omitted material facts necessary to make the statements about Tactile’s

business and financial condition not misleading, given the circumstances in which they were

made.

                    In addition to the duties of full disclosure imposed on Defendants as a result of

their affirmative statements and reports to the investing public, Defendants had a duty to

promptly disseminate truthful information that would be material to investors, in compliance

with the integrated disclosure provisions of the SEC as embodied in SEC Regulations,

including truthful, complete and accurate information with respect to the Company’s

operations and financial condition so that the Company’s share price would be based on

truthful, complete and accurate information.

                    The allegations above establish a strong inference that Defendants acted with

scienter throughout the Class Period, as they had actual knowledge of the misrepresentations

and omissions of material fact set forth herein, or acted with reckless disregard for the truth
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because they failed to ascertain and to disclose such facts, even though such facts were

available to them. Such material misrepresentations and/or omissions were done knowingly

or with recklessness, and without a reasonable basis. By concealing these material facts

from investors, Tactile maintained its artificially inflated share price throughout the Class

Period, and the Insider Trading Defendants were able to sell off the majority of their stock at

artificially inflated prices.

                    By virtue of the foregoing, Defendants have violated §10(b) of the Exchange

Act and Rule 10b-5(b) promulgated thereunder.

                                             COUNT II
                                         (Scheme Liability)

                          Violation of §10(b) of the Exchange Act and
                         Rule 10b-5(a) and (c) Promulgated Thereunder
                                    Against All Defendants

                    Lead Plaintiff incorporates by reference and realleges each and every

allegation contained above as if set forth fully herein.

                    As early as 2018 and continuing through the Class Period, Defendants carried

out a plan, scheme and course of conduct which was intended to, and did: (i) deceive the

investing public, including Lead Plaintiff and other members of the Class; (ii) enable Tactile

to artificially inflate the price of Tactile’s common stock; (iii) cause Lead Plaintiff and other

members of the Class to purchase Tactile’s common stock at artificially inflated prices; and

(iv) allow the Insider Trading Defendants to sell the majority of their stock at artificially

inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

Defendants took the following actions:


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                           Exaggerated and distorted clinical study results and claims data analyses

to convey that Flexitouch’s market size was three to four times greater than it actually was;

                           Paid illegal kickbacks to doctors and other hospital staff to induce them

to prescribe the Flexitouch;

                           Submitted false reimbursement claims to Medicare;

                           Issued false and misleading statements, as alleged in §V, in furtherance

of the scheme;

                           Each and every Defendant is sued as a primary participant in the

wrongful and illegal conduct charged herein; and

                           The scheme and course of conduct alleged herein was intended to, and

did, drive Flexitouch sales, and with it, Tactile’s revenues and share price.

                                            COUNT III
                                          (Control Persons)

                           For Violation of §20(a) of the Exchange Act
                          Against Tactile and the Individual Defendants

                    Lead Plaintiff repeats and realleges each and every allegation contained above

as if set forth fully herein.

                    Each of the Individual Defendants acted as a control person of the Company

within the meaning of §20(a) of the Exchange Act (15 U.S.C. §78t(a)), as alleged herein. By

virtue of their stock ownership, high-level positions, and participation in and/or awareness of

the Company’s operations, finances, and research, each Individual Defendant had the power

to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements

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that Lead Plaintiff contend are false and misleading. Each Individual Defendant was

provided with or had access to copies of the Company’s reports, press releases, public

filings, and other statements alleged by Lead Plaintiff to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

                    Each Individual Defendant had direct and supervisory involvement in the day-

to-day operations of the Company and, therefore, had the power to control Tactile’s public

statements and participation in the fraudulent scheme as alleged herein, and exercised the

same. Further, each of the Individual Defendants had access to data, reports and results

generated from clinical trials and claims data analyses. The Individual Defendants had the

power and ability to control (and did influence and control, directly or indirectly) the actions

of Tactile and its employees, including their participation in the alleged fraudulent scheme

and directing the content of Tactile’s financial statements, releases and conference call

statements.

                    Tactile controlled the Individual Defendants and all of Tactile’s employees and

directors.

                    By reason of such wrongful conduct, Tactile and the Individual Defendants are

liable pursuant to §20(a) of the Exchange Act.




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                                             COUNT IV
                                          (Insider Trading)

                            For Violations of §20A of the Exchange Act
                             Against the Insider Trading Defendants

                    Lead Plaintiff incorporates by reference and realleges each and every

allegation contained above as if set forth fully herein.

                    As detailed in §VII.A, the insider trading claims alleged herein arise from the

Insider Trading Defendants’ sale of 716,765 shares of Tactile common stock during the

Class Period for illegal insider trading proceeds of $38.8 million and profits of $27.8 million.

The Insider Trading Defendants made their illegal insider sales contemporaneously with

members of the Class, including Lead Plaintiff, who purchased Tactile shares on December

10, 2019. The Insider Trading Defendants’ sales were suspicious because they were

calculated to maximize personal benefit from the fraud, dramatically out of line with their

pre-Class Period trading practices, and made shortly after the dissemination of false positive

statements.

                    During the Class Period, the Insider Trading Defendants were privy to

confidential information concerning Tactile’s operations, finances, financial condition and

future business prospects, including, but not limited to, the false statements disseminated to

the investing public. Notwithstanding their duty to refrain from trading in Tactile common

stock without disclosing the foregoing materially adverse facts, the Insider Trading

Defendants sold Tactile common stock contemporaneously with the purchases of Tactile

common stock by Lead Plaintiff and the other Class members.



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                    The Insider Trading Defendants were experienced investors that were well-

aware of the prohibitions against insider trading. Tactile’s insider trading policy recognizes

that “[f]ederal and state securities laws prohibit individuals from trading in the securities of a

company while they are aware of material information about that company that is not

generally known or available to the public.” Notably, the policy informs Tactile insiders that

information concerning “[s]ignificant litigation exposure due to actual or threatened

litigation” is material information on which the insiders are prohibited from trading.

                    This claim is asserted pursuant to §20A of the Exchange Act, which provides,

in part, that “[a]ny person who violates any provision of [the Exchange Act] or the rules or

regulations thereunder by purchasing or selling a security while in possession of material,

nonpublic information shall be liable . . . to any person who, contemporaneously with the

purchase or sale of securities that is the subject of such violation, has purchased . . .

securities of the same class.”

                    Defendants Mattys, Blake, Burke, Nigon, and Roche violated §10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder by knowingly and recklessly making

false and misleading statements and omitting to disclose material facts in the Company’s

quarterly and annual filings with the SEC, press releases, and conference calls.

                    The Insider Trading Defendants also violated §10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder by carrying out a plan, scheme and course of conduct

which was intended to and, did: (i) deceive the investing public, including Lead Plaintiff and

other members of the Class; (ii) enable Tactile to artificially inflate the price of Tactile’s

common stock; (iii) cause Lead Plaintiff and other members of the Class to purchase
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Tactile’s common stock at artificially inflated prices; and (iv) allow the Insider Trading

Defendants to sell the majority of their stock at artificially inflated prices.

                    The Insider Trading Defendants violated §10(b) of the Exchange Act and Rule

10b-5 promulgated thereunder by unlawfully trading Tactile stock throughout the Class

Period while in possession of material, non-public information. The Insider Trading

Defendants owed a duty to Tactile and its shareholders to maintain the material, nonpublic

information in confidence and not trade on the basis of it. In breach of that duty, the Insider

Trading Defendants knowingly and recklessly traded Tactile stock on the basis, and while in

possession, of the material, nonpublic information concerning Tactile’s improper business

practices. As beneficial owners of the sold shares, each Insider Trading Defendant expected

to, and did, receive a pecuniary benefit from the sale.

                    The Individual Defendants also violated §20(a) of the Exchange Act. By

reason of their positions of control and authority as officers and/or directors of Tactile, the

Insider Trading Defendants had the power and authority to cause Tactile to engage in the

conduct complained of herein. They were able to and did control, directly and indirectly, the

decision-making of Tactile, including the content and dissemination of Tactile’s public

statements and filings described herein, thereby causing the dissemination of the materially

false and misleading statements and omissions alleged herein.

                    Lead Plaintiff and all similarly situated members of the Class: (i) have suffered

damages because they paid artificially inflated prices for Tactile stock as a result of the

violations herein described, and suffered economic losses as the truth was revealed through

several partial disclosures; (ii) have suffered damages because the Insider Trading
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Defendants gained an advantageous market position through their possession of material,

nonpublic information; and (iii) would not have purchased Tactile stock at the prices they

paid, or at all, if they had been aware that the market prices had been artificially inflated by

the Individual Defendants’ false and misleading statements and material omissions.

                    Under §20A of the Exchange Act, the Insider Trading Defendants are jointly

and severally liable to Lead Plaintiff and the Class for all profits gained and losses avoided

by them as a result of their insider trading.

                    By virtue of the foregoing, the Insider Trading Defendants violated §20A of

the Exchange Act.

X.       PRAYER FOR RELIEF

         Wherefore, Lead Plaintiff prays for relief and judgment as follows:

         A.         Declaring this action to be a proper class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

         B.         Awarding Lead Plaintiff and the Class members damages, including interest;

         C.         Awarding Lead Plaintiff reasonable costs, including attorneys’ fees and

expenses; and

         D.         Awarding such equitable/ injunctive or other relief for the benefit of the Class

as the court may deem just and proper.




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XI.      JURY DEMAND

         Lead Plaintiff demands a trial by jury.

DATED: April 19, 2021                         ROBBINS GELLER RUDMAN
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                                              ASHLEY M. PRICE
                                              (admitted pro hac vice)
                                              NICOLE Q. GILLILAND
                                              (admitted pro hac vice)


                                                           s/ Ashley M. Price
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                                              Local Counsel




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                                       Additional Counsel for Lead Plaintiff




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       CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

       ST.     CLAIR        COUNTY           EMPLOYEES'            RETIREMENT             SYSTEM
(“Plaintiff’) declares:
       1.      Plaintiff has reviewed a complaint and authorized its filing. Plaintiff
has authorized the filing of a motion for appointment as lead plaintiff.
       2.      Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiffs counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.      Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       4.      Plaintiff has made the following transaction(s) during the Class Period
in the securities that are the subject of this action:

 Security                 Transaction                  Date                   Price Per Share


                                   See attached Schedule A.

       5.      Plaintiff has not sought to serve or served as a representative party in a
class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:

 St. Clair County Employees' Ret. Sys. v. Acadia Healthcare Co., Inc., No. 3:18-cv-00988 (M.D. Term.)
                  In re Resideo Techs., Inc. Sec. Litig., No. 0:19-cv-02863 (D. Minn.)




       6.      Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff s pro rata share of any recovery.




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except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
     I declare under penalty of perjury that the foregoing is true and correct.
Executed this   ^ day of November, 2020.
                                       ST. CLAIR COUNTY EMPLOYEES'
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                                                  SCHEDULE A

                                         SECURITIES TRANSACTIONS

                             Stock

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          12/10/2019                       2,494        $64.86

Prices listed are rounded up to two decimal places.
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                                  CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on April 19, 2021, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and

I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                  s/ Ashley M. Price
                                                                 ASHLEY M. PRICE

                                                  ROBBINS GELLER RUDMAN
                                                         & DOWD LLP
                                                  655 West Broadway, Suite 1900
                                                  San Diego, CA 92101-8498
                                                  Telephone: 619/231-1058
                                                  619/231-7423 (fax)

                                                  E-mail: aprice@rgrdlaw.com
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